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                                       UNITED STATES BANKRUPTCY COURT
                                                Southern DISTRICT OF New York



In Re. 96 Wythe Acquisition LLC                                     §                  Case No. 21-22108
                                                                    §
                                                                    §
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 02/28/2022                                                       Petition Date: 02/23/2021

Months Pending: 12                                                                       Industry Classification:    0    0   0   0

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ David Goldwasser                                                         David Goldwasser
Signature of Responsible Party                                               Printed Name of Responsible Party
03/24/2022
                                                                             .3284 N 29th Ct
Date
                                                                             Hollywood, FL 33020
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

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Debtor's Name 96 Wythe Acquisition LLC                                                             Case No. 21-22108


Part 1: Cash Receipts and Disbursements                                            Current Month            Cumulative

a.   Cash balance beginning of month                                                        $3,634,002
b.   Total receipts (net of transfers between accounts)                                     $1,400,444                   $0
c.   Total disbursements (net of transfers between accounts)                                $1,873,956                   $0
d.   Cash balance end of month (a+b-c)                                                      $3,160,490
e.   Disbursements made by third party for the benefit of the estate                                  $0                 $0
f.   Total disbursements for quarterly fee calculation (c+e)                                $1,873,956                   $0
Part 2: Asset and Liability Status                                                 Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                                $44,122
b.   Accounts receivable over 90 days outstanding (net of allowance)                                  $0
c.   Inventory       ( Book        Market      Other       (attach explanation))              $263,767
d    Total current assets                                                                   $3,637,258
e.   Total assets                                                                          $95,614,382
f.   Postpetition payables (excluding taxes)                                                $2,144,688
g.   Postpetition payables past due (excluding taxes)                                                 $0
h.   Postpetition taxes payable                                                               $252,316
i.   Postpetition taxes past due                                                                      $0
j.   Total postpetition debt (f+h)                                                          $2,397,004
k.   Prepetition secured debt                                                              $83,517,770
l.   Prepetition priority debt                                                                        $0
m. Prepetition unsecured debt                                                                         $0
n.   Total liabilities (debt) (j+k+l+m)                                                    $85,914,774
o.   Ending equity/net worth (e-n)                                                          $9,699,608

Part 3: Assets Sold or Transferred                                                 Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                               $0                 $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                          $0                 $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                         $0                 $0

Part 4: Income Statement (Statement of Operations)                                 Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                       $1,197,205
b.   Cost of goods sold (inclusive of depreciation, if applicable)                            $706,345
c.   Gross profit (a-b)                                                                       $490,860
d.   Selling expenses                                                                         $112,063
e.   General and administrative expenses                                                      $237,630
f.   Other expenses                                                                           $188,565
g.   Depreciation and/or amortization (not included in 4b)                                            $0
h.   Interest                                                                                       $0
i.   Taxes (local, state, and federal)                                                        $100,050
j.   Reorganization items                                                                             $0
k.   Profit (loss)                                                                           $-183,527                   $0


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Debtor's Name 96 Wythe Acquisition LLC                                                                       Case No. 21-22108

Part 5: Professional Fees and Expenses

                                                                                  Approved      Approved        Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
a.     Debtor's professional fees & expenses (bankruptcy) Aggregate Total                  $0       $35,000                $0        $35,000
       Itemized Breakdown by Firm
                Firm Name                         Role
       i        Leitner Berman Inc.               Financial Professional                   $0       $35,000                $0        $35,000
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                                                                                 Approved       Approved       Paid Current       Paid
                                                                               Current Month   Cumulative         Month         Cumulative
b.     Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total              $0            $0                $0             $0
       Itemized Breakdown by Firm
                Firm Name                        Role
       i                                                                                  $0            $0                $0             $0
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         xcix
         c
c.       All professional fees and expenses (debtor & committees)             $0              $0               $0               $0




Part 6: Postpetition Taxes                                                          Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                     $0                          $0
c.   Postpetition employer payroll taxes accrued                                                    $0                          $0
d.   Postpetition employer payroll taxes paid                                                       $0                          $0
e.   Postpetition property taxes paid                                                               $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                   $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                      $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)   Yes        No
b.   Were any payments made outside the ordinary course of business           Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                      Yes        No
d.   Are you current on postpetition tax return filings?                      Yes        No
e.   Are you current on postpetition estimated tax payments?                  Yes        No
f.   Were all trust fund taxes remitted on a current basis?                   Yes        No
g.   Was there any postpetition borrowing, other than trade credit?           Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by      Yes        No    N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                  Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                            Casualty/property insurance?                      Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                            General liability insurance?                      Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                  Yes        No
k.   Has a disclosure statement been filed with the court?                    Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                      Yes        No
     set forth under 28 U.S.C. § 1930?




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Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ David Goldwasser                                                            David Goldwasser
Signature of Responsible Party                                                  Printed Name of Responsible Party

Manager                                                                         03/24/2022
Title                                                                           Date




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  In re 96 Wythe Acquisition LLC                                                                                           Case No. 21-22108-rdd
        Debtor                                                                                                    Reporting Period: 2/01/2022-2/28/2022

       SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

       Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
       or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
       ACTUAL” column must equal the sum of the fhree bank account columns. Attach copies of the bank statements and the cash disbursements journal.
       The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
       attached for each account. [See MOR-1 (CON’T)]


                                                                                                                                                                                              CURRENT MONTH
       ACCOUNT NUMBER (LAST 4)                                        DIP 0935         DIP 0927                     TWH BK 1596                       TWH BK 1603            TWH BK 1611    ACTUAL (TOTAL OF ALL
                                                                                                                                                                                                ACCOUNTS)

       CASH BEGINNING OF MONTH        $1,321,453.48                                  $1,738,803.02                           $57,738.03                        $6,710.33      $509,296.31        $3,634,001.17
       RECEIPTS
       CASH SALES                     $1,400,443.68                                                                                                                                              $1,400,443.68
       ACCOUNTS RECEIVABLE - PREPETITION
       ACCOUNTS RECEIVABLE - POSTPETITION
       LOANS AND ADVANCES
       SALE OF ASSETS
       OTHER (ATTACH LIST)                                                                                                                                                                               $0.00
       TRANSFERS (FROM DIP ACCTS)                                                                                           $531,252.74                      $750,009.32      $114,742.65        $1,396,004.71
         TOTAL RECEIPTS               $1,400,443.68                                             $0.00                       $531,252.74                      $750,009.32      $114,742.65        $2,796,448.39
       DISBURSEMENTS
       NET PAYROLL                                                                                                                                           $751,647.45                           $751,647.45
       PAYROLL TAXES                                                                                                                                                                                     $0.00
       SALES, USE, & OTHER TAXES                                                                                                                                              $504,418.50          $504,418.50
       INVENTORY PURCHASES
       SECURED/ RENTAL/ LEASES
       INSURANCE
       ADMINISTRATIVE                                                                                                                                                                                     $0.00
       SELLING
       OTHER (ATTACH LIST)               $74,436.67                                             $0.00                       $543,421.82                             $30.00                         $617,888.49
       OWNER DRAW *
       TRANSFERS (TO DIP ACCTS)       $1,396,004.71                                                                                                                                              $1,396,004.71
       PROFESSIONAL FEES                      $0.00                                                                                                                                                      $0.00
       U.S. TRUSTEE QUARTERLY FEES
       COURT COSTS
       TOTAL DISBURSEMENTS            $1,470,441.38                                             $0.00                       $543,421.82                      $751,677.45      $504,418.50        $3,269,959.15
                                                                                                                                                                                                         $0.00
       NET CASH FLOW                                                   -$69,997.70              $0.00                       -$12,169.08                       -$1,668.13     -$389,675.85         -$473,510.76
       (RECEIPTS LESS DISBURSEMENTS)

       CASH – END OF MONTH                                           $1,251,455.78   $1,738,803.02                           $45,568.95                        $5,042.20      $119,620.46        $3,160,490.41
       * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE
       ** Account discontinued use for debtor activity in May 2021


       THE FOLLOWING SECTION MUST BE COMPLETED
       DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

       TOTAL DISBURSEMENTS                                              3,269,959
         LESS: TRANSFERS TO OTHER                                      (1,396,005)
       DEBTOR IN POSSESSION
         PLUS: ESTATE
       DISBURSEMENTS MADE BY
       TOTAL DISBURSEMENTS FOR                                          1,873,954
       CALCULATING U.S. TRUSTEE
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                                         The Williamsburg Hotel
                                      Income Statement Summary
                                             February 2022

                                                               Actual           %

               Paid Occupied Rooms                                  3,134
               Occupied Rooms                                       3,213
               Available Rooms                                      4,116




                                                                        L
               Paid Occupancy %                                     76.1%
               Total Occupancy %                                    78.1%
               Paid ADR                                   $        215.89




                                                         A
               Total ADR                                  $        210.58
               RevPAR                                     $        164.38




                                                      TI
               Revenue
               Rooms                                      $     676,606.65     56.5%
               Food & Beverage                            $     467,523.46     39.1%
                                                          $      53,074.98      4.4%
               Total Revenue
                                   EN
               Miscellaneous Revenue
                                                          $   1,197,205.09    100.0%

               Departmental Expenses
               Rooms                                      $    324,651.62     48.0%
               Food & Beverage                            $    381,693.76     81.6%
                      ID
               Total Departmental Expenses                $    706,345.38     59.0%

               Total Departmental Profit                  $    490,859.71     41.0%
        NF


               Undistributed Operating Expenses
               Admin & General                            $    237,630.87     19.8%
               Info & Telecomm Systems                    $     27,176.50      2.3%
               Sales & Marketing                          $    112,063.15      9.4%
               Property Operations & Maintenance          $    120,910.81     10.1%
CO




               Utilities                                  $     40,477.33      3.4%
               Total Undistributed Expenses               $    538,258.66     45.0%

               Gross Operating Profit                     $     (47,398.95)   -4.0%

               Property & Liability Insurance             $     36,077.67      3.0%
               Property Taxes                             $    100,050.33      8.4%

               Net Operating Profit                       $    (183,526.95) (15.3%)




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                      The Williamsburg Hotel
                          Balance Sheet
        Period Ending                                          28-Feb-22

        Assets
        Cash And Cash Equivalents                       $    3,077,052.62
        Cash - Sales Tax Reserve                        $      252,316.23
        Net Receivables                                 $       44,122.30
        Inventory                                       $      263,766.92
        Net Property Plant and Equipment                $   91,552,118.59
        Prepaid Expenses                                $       64,228.79
        Prepaid Insurance                               $      360,776.68
        Total Assets                                    $   95,614,382.13

        Liabilities
        Accounts Payable                                $    1,348,340.37
        Advance Deposits                                $      606,562.68
        Accrued Payroll & Employer Taxes                $      187,615.34
        Accrued Sales Tax (Rooms)                       $      217,757.73
        Accrued Sales Tax (F&B)                         $       34,558.50
        Long Term Debt                                  $   83,517,769.95
        Other Liabilities                               $        2,170.00
        Total Liabilities                               $   85,914,774.57

        Stockholders' Equity
        Preferred Stock                                 $     4,000,000.00
        Common Stock                                    $    29,346,763.78
        Retained Earnings                               $   (23,463,629.27)
        Net Income                                      $      (183,526.95)
        Total Stockholder Equity                        $     9,699,607.56

        Total Liabilities + Stockholders' Equity        $   95,614,382.13
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                                                            The Williamsburg
                                                                 Pg 16 of 71 Hotel
03/15/22
                                                            Reconciliation Detail
                                         1103100 · TD DIP Operating Account...0935, Period Ending 02/28/2022
                        Type             Date       Amount               Description                                Name

           Checks and Payments - 45 items
                Check                  02/02/2022      -572.47 A&G - Bad Debt Expense         FISERV MERCHANT CHARGEBACKS 8889 Rooms
                Bill Pmt -Check        02/03/2022   -25,335.09 A&G - CC Processing Fees       FISERV MERCHANT SERVICES 8889 ROOMS
                Bill Pmt -Check        02/03/2022    -6,124.07 A&G - CC Processing Fees       FISERV MERCHANT SERVICES 1884 F&B
                Bill Pmt -Check        02/03/2022    -1,873.78 A&G - CC Processing Fees       FISERV MERCHANT SERVICES 8889 ROOMS
                Bill Pmt -Check        02/03/2022    -1,780.05 A&G - CC Processing Fees       FISERV MERCHANT SERVICES 8889 ROOMS
                Bill Pmt -Check        02/03/2022      -816.48 A&G - CC Processing Fees       FISERV MERCHANT SERVICES 1884 F&B
                Bill Pmt -Check        02/03/2022      -508.60 A&G - CC Processing Fees       FISERV MERCHANT SERVICES 1884 F&B
                Check                  02/03/2022       -36.00 A&G - Bad Debt Expense         FISERV MERCHANT CHARGEBACKS 1884 F&B
                Check                  02/04/2022      -952.60 A&G - Bad Debt Expense         FISERV MERCHANT CHARGEBACKS 8889 Rooms
                Check                  02/07/2022    -1,951.02 A&G - Bad Debt Expense         FISERV MERCHANT CHARGEBACKS 8889 Rooms
                Check                  02/09/2022      -251.69 A&G - Bad Debt Expense         FISERV MERCHANT CHARGEBACKS 8889 Rooms
                General Journal        02/10/2022   -31,067.15 Property Tax                   NYC Dept of Finance
                Check                  02/10/2022        -0.65 A&G - CC Processing Fees       FISERV MERCHANT SERVICES 1884 F&B
                Check                  02/14/2022       -88.07 A&G - Bad Debt Expense         FISERV MERCHANT CHARGEBACKS 8889 Rooms
                Check                  02/14/2022       -58.62 A&G - Bad Debt Expense         FISERV MERCHANT CHARGEBACKS 1884 F&B
                Check                  02/15/2022        -0.04 A&G - CC Processing Fees       FISERV MERCHANT SERVICES 1884 F&B
                Check                  02/16/2022      -351.70 A&G - Bad Debt Expense         FISERV MERCHANT CHARGEBACKS 8889 Rooms
                Check                  02/17/2022        -0.56 A&G - CC Processing Fees       FISERV MERCHANT SERVICES 1884 F&B
                Bill Pmt -Check        02/18/2022    -2,349.00 US Trustee Quarterly Fees      U.S. Trustee
                Check                  02/18/2022      -155.00 A&G - Bad Debt Expense         FISERV MERCHANT CHARGEBACKS 1884 F&B
                Check                  02/18/2022        -1.70 A&G - CC Processing Fees       FISERV MERCHANT SERVICES 1884 F&B
                Check                  02/22/2022       -40.00 A&G - Bad Debt Expense         FISERV MERCHANT CHARGEBACKS 1884 F&B
                Check                  02/22/2022        -2.55 A&G - Bad Debt Expense         FISERV MERCHANT CHARGEBACKS 8889 Rooms
                Check                  02/23/2022      -120.00 A&G - Bad Debt Expense         FISERV MERCHANT CHARGEBACKS 1884 F&B
                Check                  02/23/2022        -0.14 A&G - CC Processing Fees       FISERV MERCHANT SERVICES 1884 F&B
                Check                  02/24/2022        -0.64 A&G - CC Processing Fees       FISERV MERCHANT SERVICES 1884 F&B
           Total Checks and Payments                -74,437.67
           Deposits and Credits - 58 items
                General Journal        01/29/2022    15,134.33 Credit Card Receipts - Rooms   Daily Revenue
                General Journal        01/29/2022    15,649.73 Credit Card Receipts - F&B     Daily Revenue
                General Journal        01/30/2022    12,468.26 Credit Card Receipts - F&B     Daily Revenue
                General Journal        01/30/2022    46,690.70 Credit Card Receipts - Rooms   Daily Revenue
                General Journal        01/31/2022     4,612.60 Credit Card Receipts - F&B     Daily Revenue
                General Journal        01/31/2022    30,092.96 Credit Card Receipts - Rooms   Daily Revenue
                General Journal        02/01/2022     7,190.44 Credit Card Receipts - F&B     Daily Revenue
                General Journal        02/01/2022    25,521.68 Credit Card Receipts - Rooms   Daily Revenue
                General Journal        02/02/2022     3,838.15 Credit Card Receipts - F&B     Daily Revenue
                General Journal        02/02/2022    28,866.73 Credit Card Receipts - Rooms   Daily Revenue
                General Journal        02/03/2022     5,251.97 Credit Card Receipts - F&B     Daily Revenue
                General Journal        02/03/2022    34,801.62 Credit Card Receipts - Rooms   Daily Revenue
                General Journal        02/04/2022    13,120.73 Credit Card Receipts - F&B     Daily Revenue
                General Journal        02/04/2022    39,258.36 Credit Card Receipts - Rooms   Daily Revenue
                General Journal        02/05/2022    35,692.33 Credit Card Receipts - Rooms   Daily Revenue
                General Journal        02/05/2022    41,714.00 Credit Card Receipts - F&B     Daily Revenue
                General Journal        02/06/2022    12,570.10 Credit Card Receipts - F&B     Daily Revenue
                General Journal        02/06/2022    59,981.33 Credit Card Receipts - Rooms   Daily Revenue
                General Journal        02/07/2022     2,350.23 Credit Card Receipts - F&B     Daily Revenue
                General Journal        02/07/2022    27,463.89 Credit Card Receipts - Rooms   Daily Revenue
                General Journal        02/08/2022     4,884.54 Credit Card Receipts - F&B     Daily Revenue
                General Journal        02/08/2022    17,017.09 Credit Card Receipts - Rooms   Daily Revenue
                General Journal        02/09/2022     6,035.73 Credit Card Receipts - F&B     Daily Revenue
                General Journal        02/09/2022    25,372.17 Credit Card Receipts - Rooms   Daily Revenue




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                                                               Reconciliation Detail
                                          1103100 · TD DIP Operating Account...0935, Period Ending 02/28/2022
                       Type               Date        Amount               Description                          Name

                 General Journal        02/10/2022      6,682.40 Credit Card Receipts - F&B     Daily Revenue
                 General Journal        02/10/2022     23,291.00 Wire Receipt - Rooms
                 General Journal        02/10/2022     55,621.99 Credit Card Receipts - Rooms   Daily Revenue
                 General Journal        02/11/2022     27,240.11 Credit Card Receipts - F&B     Daily Revenue
                 General Journal        02/11/2022    105,449.19 Credit Card Receipts - Rooms   Daily Revenue
                 General Journal        02/12/2022     38,118.44 Credit Card Receipts - F&B     Daily Revenue
                 General Journal        02/12/2022     43,231.60 Credit Card Receipts - Rooms   Daily Revenue
                 General Journal        02/13/2022     16,550.92 Credit Card Receipts - F&B     Daily Revenue
                 General Journal        02/13/2022     45,586.59 Credit Card Receipts - Rooms   Daily Revenue
                 General Journal        02/14/2022     12,479.98 Credit Card Receipts - F&B     Daily Revenue
                 General Journal        02/14/2022     30,071.60 Credit Card Receipts - Rooms   Daily Revenue
                 General Journal        02/15/2022      5,021.60 Wire Receipt - F&B
                 General Journal        02/15/2022      5,594.17 Credit Card Receipts - F&B     Daily Revenue
                 General Journal        02/15/2022     31,766.84 Credit Card Receipts - Rooms   Daily Revenue
                 General Journal        02/16/2022      4,293.46 Credit Card Receipts - F&B     Daily Revenue
                 General Journal        02/16/2022     25,387.38 Credit Card Receipts - Rooms   Daily Revenue
                 General Journal        02/17/2022      6,042.97 Credit Card Receipts - F&B     Daily Revenue
                 General Journal        02/17/2022     57,331.02 Credit Card Receipts - Rooms   Daily Revenue
                 General Journal        02/18/2022     19,686.06 Credit Card Receipts - F&B     Daily Revenue
                 General Journal        02/18/2022     36,613.94 Credit Card Receipts - Rooms   Daily Revenue
                 General Journal        02/19/2022     29,915.75 Credit Card Receipts - Rooms   Daily Revenue
                 General Journal        02/19/2022     30,819.42 Credit Card Receipts - F&B     Daily Revenue
                 General Journal        02/20/2022     18,048.16 Credit Card Receipts - F&B     Daily Revenue
                 General Journal        02/20/2022     33,175.03 Credit Card Receipts - Rooms   Daily Revenue
                 General Journal        02/21/2022      4,267.00 Credit Card Receipts - F&B     Daily Revenue
                 General Journal        02/21/2022     42,632.81 Credit Card Receipts - Rooms   Daily Revenue
                 General Journal        02/22/2022      5,165.51 Credit Card Receipts - F&B     Daily Revenue
                 General Journal        02/22/2022     38,304.18 Credit Card Receipts - Rooms   Daily Revenue
                 General Journal        02/23/2022      1,199.04 Wire Receipt - Rooms
                 General Journal        02/23/2022      7,457.16 Credit Card Receipts - F&B     Daily Revenue
                 General Journal        02/23/2022     25,726.15 Credit Card Receipts - Rooms   Daily Revenue
                 General Journal        02/24/2022      8,035.64 Credit Card Receipts - F&B     Daily Revenue
                 General Journal        02/24/2022     26,298.83 Wire Receipt - Rooms
                 General Journal        02/25/2022     17,758.07 Credit Card Receipts - F&B     Daily Revenue
           Total Deposits and Credits                1,400,443.68




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                                                                     Reconciliation Detail
                                                    1103500 · TD Mgmt Main Account...1596, Period Ending 02/28/2022
                        Type             Date        Amount                            Description                                    Name

Beginning Balance
           Cleared Transactions
               Checks and Payments - 308 items
                   Bill Pmt -Check     11/05/2021    -10,475.00 F&B - Contract Services (Security)              DTP Security & Hospitality LLC
                   Bill Pmt -Check     11/15/2021     -1,079.50 F&B - Minibar Food                              Fine & Raw Chocolate
                   Bill Pmt -Check     12/01/2021     -2,960.60 Rooms - Linen & Uniform Laundry                 JC & JC Cleaners Inc. (The Dry Cleaner)
                   Bill Pmt -Check     12/03/2021       -875.00 F&B - N/A Beverage                              Coffee of Grace
                   Bill Pmt -Check     12/03/2021       -450.00 Rooms - Guest Amenities                         Brooklyn Unplugged LLC
                   Bill Pmt -Check     12/17/2021     -5,441.62 POM - Life/Safety                               Safety Fire Sprinkler Corp.
                   Bill Pmt -Check     12/29/2021     -1,158.75 F&B - Minibar Food                              Fine & Raw Chocolate
                   Bill Pmt -Check     01/05/2022     -2,000.00 Rooms - Linen & Uniform Laundry                 JC & JC Cleaners Inc. (The Dry Cleaner)
                   Bill Pmt -Check     01/05/2022     -1,665.79 POM - HVAC Equipment                            Green Oil Recycling
                   Bill Pmt -Check     01/07/2022     -2,918.18 F&B - Linen Laundry                             White Plains Linen
                   Bill Pmt -Check     01/07/2022       -890.00 Rooms - Contract Labor                          Quality Plus Cleaning
                   Bill Pmt -Check     01/07/2022       -545.48 Rooms - Guest Supplies                          Guest Supply, LLC
                   Bill Pmt -Check     01/07/2022       -300.00 Rooms - Guest Amenities                         Brooklyn Unplugged LLC
                   Bill Pmt -Check     01/09/2022       -633.00 A&G - Human Resources                           Screening One
                   Bill Pmt -Check     01/09/2022       -500.00 F&B - Music & Entertainment                     Lucina Valentine Mitsuko Sinclair
                   Bill Pmt -Check     01/14/2022     -3,080.00 Rooms - Contract Labor                          Quality Plus Cleaning
                   Bill Pmt -Check     01/14/2022     -1,300.00 F&B - Music & Entertainment                     Laeticia Harrison-Roberts
                   Bill Pmt -Check     01/14/2022       -400.00 F&B - Marketing & Promotion                     Brouqueline, LLC
                   Bill Pmt -Check     01/17/2022     -1,897.75 Rooms - Operating Supplies                      ULINE
                   Bill Pmt -Check     01/18/2022     -2,657.00 Rooms - Linen & Uniform Laundry                 JC & JC Cleaners Inc. (The Dry Cleaner)
                   Bill Pmt -Check     01/18/2022       -888.50 F&B - Food                                      Local Roots NYC LLC
                   Bill Pmt -Check     01/18/2022       -650.00 F&B - Food                                      GdeP Inc.
                   Bill Pmt -Check     01/18/2022       -545.08 F&B - Food                                      Blue Moon Acres
                   Bill Pmt -Check     01/20/2022     -3,116.86 Rooms - Linen Cost                              1Concier (Harbor Linen)
                   Bill Pmt -Check     01/20/2022     -1,281.17 ITS - System Expenses                           Amadeus Hospitality Americas, Inc
                   Bill Pmt -Check     01/20/2022     -1,200.00 ITS - Room Revenue Software                     IDEAS
                   Bill Pmt -Check     01/20/2022       -111.05 ITS - F&B POS Support Monthly                   Micros Retail Systems Inc.
                   Bill Pmt -Check     01/21/2022     -3,400.00 F&B - Music & Entertainment                     Timothy Sharp
                   Bill Pmt -Check     01/21/2022     -1,300.00 F&B - Music & Entertainment                     Laeticia Harrison-Roberts
                   Bill Pmt -Check     01/21/2022       -644.03 F&B - Linen Laundry                             White Plains Linen
                   Bill Pmt -Check     01/21/2022       -400.00 F&B - Marketing & Promotion                     Brouqueline, LLC
                   Bill Pmt -Check     01/25/2022     -1,800.00 Rooms - Operating Supplies                      Aged Woods
                   Bill Pmt -Check     01/25/2022     -1,252.06 POM - HVAC Equipment                            Tov Cooling of Brooklyn Inc.
                   Bill Pmt -Check     01/27/2022     -4,371.33 POM - Waste Removal                             Royal Waste Services
                   Bill Pmt -Check     01/27/2022     -3,084.26 F&B - Supplies                                  I. Halper
                   Bill Pmt -Check     01/27/2022     -2,408.95 POM - Kitchen Equipment Repairs & Maintenance   Protek
                   Bill Pmt -Check     01/27/2022     -2,361.69 POM - Elevator Services                         Champion Elevator Corp.
                   Bill Pmt -Check     01/27/2022     -2,253.72 POM - Pest Control                              Target Exterminating Inc.- Hotel
                   Bill Pmt -Check     01/27/2022     -2,237.48 Rooms - Guest Supplies                          Front Desk Supply
                   Bill Pmt -Check     01/27/2022     -1,954.00 S&M - Dues & Subscriptions                      NYC & Company
                   Bill Pmt -Check     01/27/2022     -1,644.24 F&B - Glassware & Supplies                      Balter Sales Co.
                   Bill Pmt -Check     01/27/2022     -1,315.43 Rooms - Cable Television                        Moviebeam
                   Bill Pmt -Check     01/27/2022     -1,130.00 Rooms - Guest Amenities                         Vanderlyn Hospitality Group
                   Bill Pmt -Check     01/27/2022       -890.00 Rooms - Contract Labor                          Quality Plus Cleaning
                   Bill Pmt -Check     01/27/2022       -888.50 F&B - Food                                      Local Roots NYC LLC
                   Bill Pmt -Check     01/27/2022       -666.00 F&B - Food                                      GdeP Inc.
                   Bill Pmt -Check     01/27/2022       -623.37 F&B - Food                                      Sogno Toscano Tuscan Dream
                   Bill Pmt -Check     01/27/2022       -500.64 F&B - Alcohol                                   Vranken Pommery America
                   Bill Pmt -Check     01/27/2022       -372.73 F&B - Food                                      Blue Moon Acres
                   Bill Pmt -Check     01/27/2022       -258.04 Rooms - Guest Amenities                         Amass Brands Inc
                   Bill Pmt -Check     01/27/2022       -156.00 Rooms - Guest Amenities                         Dow Jones & Co.
                   Bill Pmt -Check     01/28/2022     -2,673.40 F&B - Food                                      D'Artagnan
                   Bill Pmt -Check     01/28/2022     -2,123.18 POM - Electrical & Mechanical                   Power House Generators




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                                          1103500 · TD Mgmt Main Account...1596, Period Ending 02/28/2022
                Type           Date        Amount                               Description                                     Name

           Bill Pmt -Check   01/28/2022     -1,584.13 POM - HVAC Equipment                                Lightning Mechanical
           Bill Pmt -Check   01/28/2022     -1,360.94 POM - Plumbing                                      Edison Parker & Associates LLC
           Bill Pmt -Check   01/28/2022     -1,252.80 POM - Contract Labor (Elevator Attendant)           Fall Family LLC
           Bill Pmt -Check   01/28/2022     -1,247.36 F&B - Linen Laundry                                 White Plains Linen
           Bill Pmt -Check   01/28/2022     -1,112.77 Rooms - Guest Amenities                             La Bottega Dell'Albergo USA Inc
           Bill Pmt -Check   01/28/2022       -955.92 F&B - Equipment Rental (Ice Machine)                Arctic Glacier - Icesurance
           Bill Pmt -Check   01/28/2022       -888.50 F&B - Food                                          Local Roots NYC LLC
           Bill Pmt -Check   01/28/2022       -871.00 ITS - POM System Expenses                           Fivepals, Inc.
           Bill Pmt -Check   01/28/2022       -790.78 F&B - Glassware & Supplies                          Balter Sales Co.
           Bill Pmt -Check   01/28/2022       -731.33 ITS - Phone Support                                 Gray Matter Networks
           Bill Pmt -Check   01/28/2022       -600.00 F&B - Music & Entertainment                         Need to Know Nightlife (Joseph Greiner)
           Bill Pmt -Check   01/28/2022       -550.00 F&B - Music & Entertainment                         Laeticia Harrison-Roberts
           Bill Pmt -Check   01/28/2022       -550.00 F&B - Music & Entertainment                         Ella Darr
           Bill Pmt -Check   01/28/2022       -520.00 F&B - Music & Entertainment                         Nick Biello
           Bill Pmt -Check   01/28/2022       -400.00 F&B - Marketing & Promotion                         Brouqueline, LLC
           Bill Pmt -Check   01/28/2022       -230.00 Rooms - Guest Amenities                             Grind House Strategies LLC
           Bill Pmt -Check   01/28/2022       -230.00 F&B - Minibar Food                                  Martin Sidor Farms Inc.
           Bill Pmt -Check   01/28/2022       -121.55 F&B - Food                                          Blue Moon Acres
           Bill Pmt -Check   01/28/2022        -36.40 Rooms - Guest Amenities                             New York Post
           Bill Pmt -Check   02/01/2022     -4,666.43 F&B - Alcohol                                       Southern Glazer's of NY Metro
           Bill Pmt -Check   02/01/2022     -3,654.87 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
           Bill Pmt -Check   02/01/2022     -2,606.72 Disability Insurance                                NYSIF-DBL
           Bill Pmt -Check   02/01/2022     -1,028.32 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
           Bill Pmt -Check   02/01/2022       -191.56 ITS - Elevator Phone Lines Monthly                  Verizon
           Bill Pmt -Check   02/02/2022    -21,947.20 Rooms - Reservations Services / S&M - Media         TravelClick
           Bill Pmt -Check   02/02/2022     -9,517.89 Employee Health Insurance Monthly                   Oxford Health - Combined
           Bill Pmt -Check   02/02/2022     -7,001.00 F&B - Marketing & Promotion                         FM Prive LLC (Deep Roots)
           Bill Pmt -Check   02/02/2022     -4,000.00 S&M - Contract Labor                                The Social Secretary LLC
           Bill Pmt -Check   02/02/2022     -3,900.80 F&B - Supplies                                      I. Halper
           Bill Pmt -Check   02/02/2022     -2,500.00 POM - Electric Repair                               Metro Electrical Contractors, Inc.
           Bill Pmt -Check   02/02/2022     -1,987.50 S&M - Promotion                                     Mann Sales LLC
           Bill Pmt -Check   02/02/2022     -1,968.26 Employee Health Insurance Monthly                   Empire Blue Cross Blue Shield
           Bill Pmt -Check   02/02/2022     -1,954.00 S&M - Dues & Subscriptions                          NYC & Company
           Check             02/02/2022     -1,249.32 Rooms - Cable Television                            Ascentium Capital
           Bill Pmt -Check   02/02/2022       -994.52 S&M - Collateral Material                           The Regency Group
           Bill Pmt -Check   02/02/2022       -295.08 A&G - CC Processing Fees                            Elavon
           Bill Pmt -Check   02/03/2022     -4,463.20 F&B - Food                                          Lobster Place Wholesale Seafood
           Bill Pmt -Check   02/03/2022     -2,895.77 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
           Bill Pmt -Check   02/04/2022     -5,877.82 ITS - Contract Services                             Sorbis
           Bill Pmt -Check   02/04/2022     -4,336.20 F&B - Supplies                                      I. Halper
           Bill Pmt -Check   02/04/2022     -3,024.24 Rooms - Cleaning Supplies                           RMAC Supplies Co.
           Bill Pmt -Check   02/04/2022     -3,000.00 S&M - Contract Labor                                Rifka Buls
           Bill Pmt -Check   02/04/2022     -2,602.11 Rooms - Linen Cost                                  Revival New York
           Bill Pmt -Check   02/04/2022     -2,574.90 POM - HVAC Equipment                                Tov Cooling of Brooklyn Inc.
           Bill Pmt -Check   02/04/2022     -2,573.50 Rooms - Reservations Services / S&M - Media         TravelClick
           Bill Pmt -Check   02/04/2022     -2,458.50 POM - Engineers Contract Labor                      Mint Development...0696
           Bill Pmt -Check   02/04/2022     -2,250.99 POM - Waste Removal                                 Royal Waste Services
           Bill Pmt -Check   02/04/2022     -2,163.30 POM - Life/Safety                                   County Fire Inc.
           Bill Pmt -Check   02/04/2022     -2,000.00 S&M - Promotion                                     Mann Sales LLC
           Bill Pmt -Check   02/04/2022     -2,000.00 S&M - Photography                                   Krinsky Design
           Bill Pmt -Check   02/04/2022     -1,593.00 F&B - Minibar Food                                  Fine & Raw Chocolate
           Bill Pmt -Check   02/04/2022     -1,551.86 F&B - Glassware & Supplies                          Balter Sales Co.
           Bill Pmt -Check   02/04/2022     -1,500.00 F&B - Alcohol                                       Empire Merchants, LLC.
           Bill Pmt -Check   02/04/2022     -1,414.88 F&B - Food                                          Sogno Toscano Tuscan Dream
           Bill Pmt -Check   02/04/2022     -1,178.55 F&B - Linen Laundry                                 White Plains Linen
           Bill Pmt -Check   02/04/2022     -1,156.25 ITS - Contract Services                             Sorbis




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                                          1103500 · TD Mgmt Main Account...1596, Period Ending 02/28/2022
                Type           Date        Amount                             Description                                       Name

           Bill Pmt -Check   02/04/2022     -1,150.97 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
           Bill Pmt -Check   02/04/2022       -887.33 POM - HVAC Equipment                                Lightning Mechanical
           Bill Pmt -Check   02/04/2022       -834.26 F&B - Contract Labor                                Karine Kochariani
           Bill Pmt -Check   02/04/2022       -812.25 S&M - Collateral Material                           The Regency Group
           Bill Pmt -Check   02/04/2022       -800.00 F&B - Music & Entertainment                         Michelle Price
           Bill Pmt -Check   02/04/2022       -759.40 POM - Elevator Services                             Champion Elevator Corp.
           Bill Pmt -Check   02/04/2022       -750.00 S&M - Photography                                   Fredrickson Studios
           Bill Pmt -Check   02/04/2022       -706.37 POM - Life/Safety                                   Spark Fire Solution Inc.
           Bill Pmt -Check   02/04/2022       -655.74 F&B - Cleaning Supplies                             Santec Inc. (Cleanslate)
           Bill Pmt -Check   02/04/2022       -596.80 POM - Contract Labor (Elevator Attendant)           Fall Family LLC
           Bill Pmt -Check   02/04/2022       -545.00 F&B - N/A Beverage                                  Coffee of Grace
           Bill Pmt -Check   02/04/2022       -520.00 F&B - Music & Entertainment                         Nick Biello
           Bill Pmt -Check   02/04/2022       -450.00 F&B - Music & Entertainment                         Kristiana Roemer
           Bill Pmt -Check   02/04/2022       -420.00 F&B - Contract Labor (Doorman)                      Cristian Ramirez
           Bill Pmt -Check   02/04/2022       -400.00 F&B - Music & Entertainment                         Robert Aloia
           Bill Pmt -Check   02/04/2022       -400.00 F&B - Music & Entertainment                         Miss Sabado Enterprises
           Bill Pmt -Check   02/04/2022       -400.00 F&B - Marketing & Promotion                         Brouqueline, LLC
           Bill Pmt -Check   02/04/2022       -350.00 S&M - Contract Labor                                Desiree Hendricks
           Bill Pmt -Check   02/04/2022       -332.00 F&B - Minibar Food                                  Nassau Candy Distributors Inc.
           Bill Pmt -Check   02/04/2022        -92.54 F&B - Cleaning Supplies                             Santec Inc. (Cleanslate)
           Bill Pmt -Check   02/04/2022        -44.38 POM - Kitchen Equipment Repairs & Maintenance       Protek
           Check             02/04/2022        -30.00 A&G - Banking Charges                               TD Bank 1596
           Bill Pmt -Check   02/07/2022     -7,429.21 Rooms - Linen Laundry                               Charter Linen & Laundry Service -Next Gen
           Bill Pmt -Check   02/07/2022     -3,087.81 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
           Bill Pmt -Check   02/07/2022     -2,704.43 F&B - Alcohol                                       Southern Glazer's of NY Metro
           Bill Pmt -Check   02/07/2022     -1,320.00 A&G - Human Resources                               Hospitality Careers Online, Inc.
           Bill Pmt -Check   02/07/2022       -500.00 F&B - Music & Entertainment                         Lucina Valentine Mitsuko Sinclair
           Bill Pmt -Check   02/07/2022       -350.00 S&M - Contract Labor                                Desiree Hendricks
           Bill Pmt -Check   02/07/2022       -281.37 Employee Health Insurance Monthly                   Health Plus (Empire BCBS)
           Check             02/07/2022        -30.00 A&G - Banking Charges                               TD Bank 1596
           Bill Pmt -Check   02/08/2022     -1,795.69 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
           Bill Pmt -Check   02/08/2022     -1,389.65 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
           Bill Pmt -Check   02/08/2022       -990.66 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
           Bill Pmt -Check   02/08/2022       -261.48 F&B - Alcohol                                       Southern Glazer's of NY Metro
           Check             02/08/2022        -30.00 A&G - Banking Charges                               TD Bank 1596
           Bill Pmt -Check   02/09/2022     -1,507.50 F&B - Alcohol                                       Empire Merchants, LLC.
           Bill Pmt -Check   02/10/2022     -3,666.30 Rooms - Linen Laundry                               Charter Linen & Laundry Service -Next Gen
           Bill Pmt -Check   02/10/2022     -2,023.05 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
           Bill Pmt -Check   02/10/2022     -1,380.57 F&B - Alcohol                                       Big Blue Beer Distributor
           Bill Pmt -Check   02/10/2022     -1,360.94 POM - Plumbing                                      Edison Parker & Associates LLC
           Bill Pmt -Check   02/10/2022       -898.05 POM - Engineering Supplies                          Aurora Hardware and Locksmith
           Bill Pmt -Check   02/10/2022       -881.89 POM - Life/Safety                                   County Fire Inc.
           Bill Pmt -Check   02/10/2022       -800.00 F&B - Music & Entertainment                         Michelle Price
           Bill Pmt -Check   02/10/2022       -638.80 F&B - Alcohol                                       Southern Glazer's of NY Metro
           Bill Pmt -Check   02/10/2022       -520.00 F&B - Music & Entertainment                         Nick Biello
           Bill Pmt -Check   02/10/2022       -500.00 F&B - Music & Entertainment                         Easy Flow II, LLC
           Bill Pmt -Check   02/10/2022       -350.00 F&B - Music & Entertainment                         Rhenalt
           Bill Pmt -Check   02/10/2022       -200.00 F&B - Music & Entertainment                         Robert Aloia
           Bill Pmt -Check   02/10/2022       -146.57 S&M - Contract Labor                                The Social Secretary LLC
           Check             02/11/2022    -10,198.75 A&G - Credit Card Payment                           Bank of America Business Card 7197
           Check             02/11/2022     -9,145.50 A&G - Credit Card Payment                           Visa Chase Ink
           Bill Pmt -Check   02/11/2022     -7,720.50 Rooms - Reservations Services / S&M - Media         TravelClick
           Bill Pmt -Check   02/11/2022     -5,000.00 Rooms - Linen & Uniform Laundry                     JC & JC Cleaners Inc. (The Dry Cleaner)
           Bill Pmt -Check   02/11/2022     -4,900.00 F&B - Alcohol                                       Empire Merchants, LLC.
           Bill Pmt -Check   02/11/2022     -4,148.37 F&B - Food                                          Riviera Produce
           Bill Pmt -Check   02/11/2022     -3,401.02 F&B - Food                                          Riviera Produce




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           21-22108-shl         Doc 483             Filed 03/30/22 Entered 03/30/22 13:44:44                                       Main Document
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                                                                Pg 21 of 71 Hotel
03/15/22
                                                           Reconciliation Detail
                                          1103500 · TD Mgmt Main Account...1596, Period Ending 02/28/2022
                Type           Date        Amount                             Description                                        Name

           Bill Pmt -Check   02/11/2022     -3,323.07 ITS - Phone Support                                 Gray Matter Networks
           Bill Pmt -Check   02/11/2022     -3,041.23 F&B - Food                                          Riviera Produce
           Bill Pmt -Check   02/11/2022     -2,605.74 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
           Bill Pmt -Check   02/11/2022     -2,436.00 POM - Engineers Contract Labor                      Mint Development...0696
           Bill Pmt -Check   02/11/2022     -2,361.69 POM - Elevator Services                             Champion Elevator Corp.
           Bill Pmt -Check   02/11/2022     -2,315.87 Rooms - Cleaning Supplies                           RMAC Supplies Co.
           Bill Pmt -Check   02/11/2022     -2,290.45 F&B - Contract Services (Security)                  Alboro National
           Bill Pmt -Check   02/11/2022     -2,250.99 POM - Waste Removal                                 Royal Waste Services
           Bill Pmt -Check   02/11/2022     -2,000.00 S&M - Promotion                                     Mann Sales LLC
           Bill Pmt -Check   02/11/2022     -1,816.04 Rooms - Dues & Subscriptions                        OTA Insight Ltd.
           Bill Pmt -Check   02/11/2022     -1,750.00 S&M - Photography                                   Krinsky Design
           Bill Pmt -Check   02/11/2022     -1,749.01 Rooms - Linen Cost                                  1Concier (Harbor Linen)
           Bill Pmt -Check   02/11/2022     -1,256.28 Rooms - Cable Television                            Moviebeam
           Bill Pmt -Check   02/11/2022     -1,137.38 F&B - Food                                          D'Artagnan
           Bill Pmt -Check   02/11/2022     -1,000.00 A&G - FDNY Fees                                     City Marshal Henry Daley
           Check             02/11/2022     -1,000.00 A&G - Legal                                         Raimondi Law, P.C.
           Bill Pmt -Check   02/11/2022       -902.60 F&B - Linen Laundry                                 White Plains Linen
           Bill Pmt -Check   02/11/2022       -900.00 F&B - Contract Labor (Doorman)                      Cristian Ramirez
           Bill Pmt -Check   02/11/2022       -620.00 Rooms - Guest Amenities                             Grind House Strategies LLC
           Bill Pmt -Check   02/11/2022       -600.00 F&B - Music & Entertainment                         Elle Dee Inc
           Bill Pmt -Check   02/11/2022       -596.80 POM - Contract Labor (Elevator Attendant)           Fall Family LLC
           Bill Pmt -Check   02/11/2022       -585.81 F&B - N/A Beverage                                  AUTOTAP Corporation
           Bill Pmt -Check   02/11/2022       -552.00 F&B - Food                                          GdeP Inc.
           Bill Pmt -Check   02/11/2022       -500.83 POM - Electrical & Mechanical                       Chute Master
           Bill Pmt -Check   02/11/2022       -456.03 F&B - Food                                          Blue Moon Acres
           Bill Pmt -Check   02/11/2022       -450.00 F&B - Music & Entertainment                         Kristiana Roemer
           Bill Pmt -Check   02/11/2022       -430.92 F&B - Food                                          Local Roots NYC LLC
           Bill Pmt -Check   02/11/2022       -412.53 F&B - Alcohol                                       Southern Glazer's of NY Metro
           Bill Pmt -Check   02/11/2022       -412.53 F&B - Alcohol                                       Southern Glazer's of NY Metro
           Bill Pmt -Check   02/11/2022       -401.13 F&B - Glassware & Supplies                          Balter Sales Co.
           Bill Pmt -Check   02/11/2022       -300.50 A&G - Operating Supplies                            Arcade
           Bill Pmt -Check   02/11/2022       -300.00 A&G - Licenses & Permits                            Health Compliance NYC Inc.
           Bill Pmt -Check   02/11/2022       -210.63 F&B - Operating Supplies (Expense Reimbursement)    Alberto Gomez
           Bill Pmt -Check   02/11/2022       -175.00 S&M - Photography                                   Fredrickson Studios
           Bill Pmt -Check   02/11/2022       -145.68 F&B - Alcohol                                       Direct Wine
           Check             02/11/2022        -30.00 A&G - Banking Charges                               TD Bank 1596
           Bill Pmt -Check   02/14/2022     -3,672.42 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
           Bill Pmt -Check   02/14/2022     -2,721.67 ITS - Phone/Cable Provider                          Spectrum
           Bill Pmt -Check   02/15/2022    -12,502.77 F&B - Alcohol                                       Southern Glazer's of NY Metro
           Bill Pmt -Check   02/15/2022     -3,989.14 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
           Bill Pmt -Check   02/15/2022     -2,792.70 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
           Bill Pmt -Check   02/15/2022     -2,767.61 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
           Bill Pmt -Check   02/15/2022       -787.86 F&B - Alcohol                                       Southern Glazer's of NY Metro
           Bill Pmt -Check   02/15/2022       -249.38 F&B - Food                                          Saxelby Cheesemongers
           Bill Pmt -Check   02/16/2022     -3,074.90 Rooms - Travel Agent Commissions                    Onyx CenterSource AS
           Bill Pmt -Check   02/16/2022     -1,032.06 Dental Insurance                                    Guardian
           Bill Pmt -Check   02/16/2022       -707.69 POM - Grounds, Maintenance & Landscaping            Mill Lane Nursery Inc.
           Check             02/16/2022        -30.00 A&G - Banking Charges                               TD Bank 1596
           Bill Pmt -Check   02/17/2022     -3,624.25 F&B - Food                                          Lobster Place Wholesale Seafood
           Bill Pmt -Check   02/17/2022     -1,070.01 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
           Bill Pmt -Check   02/17/2022       -770.00 S&M - Contract Labor                                Desiree Hendricks
           Bill Pmt -Check   02/18/2022     -7,989.37 Rooms - Reservations Services / S&M - Media         TravelClick
           Bill Pmt -Check   02/18/2022     -5,181.63 F&B - Alcohol                                       Big Blue Beer Distributor
           Bill Pmt -Check   02/18/2022     -3,300.85 Rooms - Linen Laundry                               Charter Linen & Laundry Service -Next Gen
           Bill Pmt -Check   02/18/2022     -2,845.00 POM - Operating Supplies                            Vault Furniture Inc.
           Bill Pmt -Check   02/18/2022     -2,370.00 POM - Engineers Contract Labor                      Mint Development...0696




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03/15/22
                                                           Reconciliation Detail
                                          1103500 · TD Mgmt Main Account...1596, Period Ending 02/28/2022
                Type           Date        Amount                            Description                                        Name

           Bill Pmt -Check   02/18/2022     -2,162.65 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
           Bill Pmt -Check   02/18/2022     -2,039.55 F&B - Food                                          Riviera Produce
           Bill Pmt -Check   02/18/2022     -2,000.00 S&M - Promotion                                     Mann Sales LLC
           Bill Pmt -Check   02/18/2022     -1,869.63 POM - Engineering Supplies                          ScentAir Technologies
           Bill Pmt -Check   02/18/2022     -1,850.00 F&B - Music & Entertainment                         Timothy Sharp
           Bill Pmt -Check   02/18/2022     -1,751.62 Rooms - Cleaning Supplies                           RMAC Supplies Co.
           Bill Pmt -Check   02/18/2022     -1,701.83 F&B - Minibar Food & Sundries                       In-Room Plus Inc.
           Bill Pmt -Check   02/18/2022     -1,672.08 Rooms - Linen Cost                                  1Concier (Harbor Linen)
           Bill Pmt -Check   02/18/2022     -1,551.75 F&B - Supplies                                      I. Halper
           Bill Pmt -Check   02/18/2022     -1,375.00 F&B - N/A Beverage                                  Coffee of Grace
           Bill Pmt -Check   02/18/2022     -1,095.55 F&B - Contract Labor                                Karine Kochariani
           Bill Pmt -Check   02/18/2022     -1,082.20 S&M - Contract Labor                                Rifka Buls
           Bill Pmt -Check   02/18/2022     -1,075.00 F&B - Food                                          GdeP Inc.
           Bill Pmt -Check   02/18/2022     -1,000.00 F&B - Music & Entertainment                         Basic Music LLC (DJ BOO)
           Bill Pmt -Check   02/18/2022       -871.00 ITS - POM System Expenses                           Fivepals, Inc.
           Bill Pmt -Check   02/18/2022       -867.40 Rooms - Guest Amenities                             La Bottega Dell'Albergo USA Inc
           Bill Pmt -Check   02/18/2022       -771.73 A&G - Operating Supplies                            Promotion Depot
           Bill Pmt -Check   02/18/2022       -767.14 ITS - Phone Support                                 Gray Matter Networks
           Bill Pmt -Check   02/18/2022       -729.16 F&B - Food                                          Sogno Toscano Tuscan Dream
           Bill Pmt -Check   02/18/2022       -709.95 F&B - Alcohol                                       Winebow, Inc
           Bill Pmt -Check   02/18/2022       -700.00 Rooms - Contract Labor                              Quality Plus Cleaning
           Bill Pmt -Check   02/18/2022       -696.80 Rooms - Linen Cost                                  Revival New York
           Bill Pmt -Check   02/18/2022       -600.00 F&B - Contract Labor (Doorman)                      Cristian Ramirez
           Bill Pmt -Check   02/18/2022       -585.00 A&G - Human Resources                               Screening One
           Bill Pmt -Check   02/18/2022       -520.00 F&B - Music & Entertainment                         Nick Biello
           Bill Pmt -Check   02/18/2022       -512.00 POM - Contract Labor (Elevator Attendant)           Fall Family LLC
           Bill Pmt -Check   02/18/2022       -506.27 POM - Elevator Services                             Champion Elevator Corp.
           Bill Pmt -Check   02/18/2022       -500.00 F&B - Music & Entertainment                         Lucina Valentine Mitsuko Sinclair
           Bill Pmt -Check   02/18/2022       -487.72 F&B - Glassware & Supplies                          Balter Sales Co.
           Bill Pmt -Check   02/18/2022       -383.88 F&B - Linen Laundry                                 White Plains Linen
           Bill Pmt -Check   02/18/2022       -382.00 Minibar - N/A Beverage                              Big Geyser Inc.
           Bill Pmt -Check   02/18/2022       -274.73 Rooms - Guest Amenities                             Vanderlyn Hospitality Group
           Bill Pmt -Check   02/18/2022       -256.51 F&B - Food                                          Tee Jay Distributors, Inc.
           Bill Pmt -Check   02/18/2022       -240.00 F&B - Security                                      Matthew Legrand
           Bill Pmt -Check   02/18/2022       -210.00 F&B - Security                                      Raymond Artis
           Bill Pmt -Check   02/18/2022       -210.00 F&B - Security                                      Mouhamoudou Tounkara
           Bill Pmt -Check   02/18/2022       -210.00 F&B - Security                                      Abdul Azeze Hydra
           Bill Pmt -Check   02/18/2022       -210.00 F&B - Security                                      Aly Jawara
           Bill Pmt -Check   02/18/2022       -210.00 F&B - Security                                      Selah Bucknal
           Bill Pmt -Check   02/18/2022       -210.00 F&B - Security                                      Mahamadu Lamineh B Fisiru
           Bill Pmt -Check   02/18/2022       -210.00 F&B - Security                                      Khadiesha London
           Bill Pmt -Check   02/18/2022       -210.00 F&B - Security                                      Ismael Gakou
           Bill Pmt -Check   02/18/2022       -210.00 F&B - Security                                      Musa Silah
           Bill Pmt -Check   02/18/2022       -160.80 Rooms - Guest Amenities                             Dow Jones & Co.
           Bill Pmt -Check   02/18/2022        -55.00 ITS - Telecommunications                            Allbridge (DCI-Design)
           Bill Pmt -Check   02/18/2022        -36.40 Rooms - Guest Amenities                             New York Post
           Check             02/18/2022        -30.00 A&G - Banking Charges                               TD Bank 1596
           Bill Pmt -Check   02/22/2022    -10,008.05 Rooms - OTA Commissions                             Booking.com
           Bill Pmt -Check   02/22/2022     -4,150.53 Rooms - OTA Commissions                             Expedia, Inc.
           Bill Pmt -Check   02/22/2022     -2,345.34 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
           Bill Pmt -Check   02/22/2022     -2,177.50 POM - Operating Supplies                            Fourth State LLC
           Bill Pmt -Check   02/22/2022     -1,320.00 A&G - Human Resources                               Hospitality Careers Online, Inc.
           Bill Pmt -Check   02/22/2022     -1,175.52 F&B - Alcohol                                       Southern Glazer's of NY Metro
           Check             02/22/2022       -586.84 ITS - System Expenses                               Intuit Quickbooks
           Bill Pmt -Check   02/22/2022        -90.00 Rooms - Travel Agent Commissions                    Pure Travel Concierge
           Check             02/22/2022        -30.00 A&G - Banking Charges                               TD Bank 1596




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03/15/22
                                                                      Reconciliation Detail
                                                    1103500 · TD Mgmt Main Account...1596, Period Ending 02/28/2022
                    Type                 Date         Amount                               Description                                     Name

               Bill Pmt -Check         02/23/2022     -12,549.31 Workers Compensation Insurance                      Guard Insurance
               Bill Pmt -Check         02/23/2022      -6,690.95 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
               Bill Pmt -Check         02/23/2022      -4,182.50 Rooms - Linen Cost                                  H & A Clarke, Inc
               Bill Pmt -Check         02/23/2022      -1,985.11 F&B - Alcohol                                       Southern Glazer's of NY Metro
               Bill Pmt -Check         02/23/2022      -1,867.60 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
               Bill Pmt -Check         02/23/2022      -1,792.30 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
               Bill Pmt -Check         02/23/2022      -1,563.00 Employee Health Insurance Monthly                   Janover LLC
               Bill Pmt -Check         02/23/2022        -994.99 ITS - F&B POS Support Monthly                       Micros Retail Systems Inc.
               Bill Pmt -Check         02/23/2022        -830.30 F&B - Alcohol                                       Winebow, Inc
               Check                   02/23/2022        -324.85 Rooms - Washer/Dryer Monthly Lease                  Alliance Laundry Services
               Check                   02/23/2022         -30.00 A&G - Banking Charges                               TD Bank 1596
               Check                   02/23/2022         -30.00 A&G - Banking Charges                               TD Bank 1596
               Bill Pmt -Check         02/24/2022      -3,747.83 ITS - Contract Services                             Sorbis
               Bill Pmt -Check         02/24/2022      -3,000.00 S&M - Contract Labor                                The Social Secretary LLC
               Bill Pmt -Check         02/24/2022      -2,718.42 F&B - Alcohol                                       Empire Merchants, LLC.
               Bill Pmt -Check         02/24/2022      -1,816.02 F&B - Food                                          Lobster Place Wholesale Seafood
               Bill Pmt -Check         02/24/2022      -1,176.99 S&M - Contract Labor                                The Social Secretary LLC
               Bill Pmt -Check         02/24/2022        -897.60 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
               Bill Pmt -Check         02/24/2022        -480.00 F&B - Alcohol                                       T Edward Wines Ltd.
               Bill Pmt -Check         02/25/2022      -6,763.51 Rooms - Linen Laundry                               Charter Linen & Laundry Service -Next Gen
               Bill Pmt -Check         02/25/2022      -3,458.14 F&B - Contract Services (Security)                  Alboro National
               Bill Pmt -Check         02/25/2022      -2,340.00 POM - Engineers Contract Labor                      Mint Development...0696
               Bill Pmt -Check         02/25/2022      -1,310.00 S&M - Contract Labor                                Desiree Hendricks
               Bill Pmt -Check         02/25/2022      -1,224.71 F&B - Contract Labor                                Karine Kochariani
               Bill Pmt -Check         02/25/2022        -737.47 Employee Health Insurance Monthly                   Fidelis Care US
               Check                   02/25/2022         -30.00 A&G - Banking Charges                               TD Bank 1596
               Bill Pmt -Check         02/28/2022      -2,707.01 F&B - Food, Non-Alcoholic Beverages, and Supplies   Dairyland USA Corp.
               Bill Pmt -Check         02/28/2022        -840.68 Employee Health Insurance Monthly                   Fidelis Care US
               Bill Pmt -Check         02/28/2022        -788.33 S&M - Dues & Subscriptions                          TripAdvisor
               Bill Pmt -Check         02/28/2022        -737.47 Employee Health Insurance Monthly                   Fidelis Care US
               Check                   02/28/2022         -30.00 A&G - Banking Charges                               TD Bank 1596
           Total Checks and Payments                 -543,421.82




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9:12 PM                                                    The Williamsburg
03/15/22
                                                                Pg 24 of 71 Hotel
                                                           Reconciliation Detail
                       Type
                                   1103510
                                      Date
                                           · TD Mgmt
                                                  Num
                                                     Payroll Account...1603,
                                                             Amount
                                                                             Period Ending 02/28/2022
                                                                               Description                                         Name

           Checks and Payments - 19 items
               General Journal         02/04/2022   PR013022-10   -128,140.27 Payroll for 1/24/22 - 1/30/22 #258   Payroll Entry
               General Journal         02/04/2022   PR013022-11    -53,674.40 Payroll for 1/24/22 - 1/30/22 #258   Payroll Entry
               General Journal         02/04/2022   PR013022-12       -192.75 Payroll for 1/24/22 - 1/30/22 #258   Payroll Entry
               Check                   02/07/2022   ACH               -930.02 A&G - Payroll Processing Fee         Paychex - Payroll (EIB)
               General Journal         02/11/2022   PR020622-10   -130,623.83 Payroll for 1/31/22 - 2/06/22 #259   Payroll Entry
               General Journal         02/11/2022   PR020622-11    -54,835.15 Payroll for 1/31/22 - 2/06/22 #259   Payroll Entry
               Check                   02/11/2022   ACH               -395.33 ITS - Time & Attendance Software     Paychex - Time & Attend (HRS)
               General Journal         02/11/2022   PR020622-12       -192.75 Payroll for 1/31/22 - 2/06/22 #259   Payroll Entry
               Check                   02/14/2022   ACH               -841.81 A&G - Payroll Processing Fee         Paychex - Payroll (EIB)
               General Journal         02/18/2022   PR021322-11   -134,205.14 Payroll for 2/07/22 - 2/13/22 #260   Payroll Entry
               General Journal         02/18/2022   PR021322-12    -54,101.74 Payroll for 2/07/22 - 2/13/22 #260   Payroll Entry
               General Journal         02/18/2022   PR021322-13       -192.75 Payroll for 2/07/22 - 2/13/22 #260   Payroll Entry
               Check                   02/21/2022   ACH               -996.94 A&G - Payroll Processing Fee         Paychex - Payroll (EIB)
               General Journal         02/22/2022   OAB0222         -1,615.71 ITS - Timeclocks                     Paychex - Timeclock (OAB)
               General Journal         02/25/2022   PR022022-11   -134,722.17 Payroll for 2/14/22 - 2/20/22 #261   Payroll Entry
               General Journal         02/25/2022   PR022022-12    -54,935.62 Payroll for 2/14/22 - 2/20/22 #261   Payroll Entry
               General Journal         02/25/2022   PR022022-13       -192.75 Payroll for 2/14/22 - 2/20/22 #261   Payroll Entry
               Check                   02/28/2022   ACH               -858.32 A&G - Payroll Processing Fee         Paychex - Payroll (EIB)
               Check                   02/28/2022   ACH                -30.00 A&G - Bank Charges                   TD Bank 1603
           Total Checks and Payments                              -751,677.45




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                                                 E     STATEMENT OF ACCOUNT



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   THE WILLIAMSBURG HOTEL                              Statement Period:    Feb 01 2022-Feb 28 2022
   DIP CASE 21-22108-RRD SDNY                          Cust Ref #:             4384910935-039-E-***
   3284 N 29TH CT                                      Primary Account #:              438-4910935
   HOLLYWOOD FL 33020




Chapter 11 Checking
96 WYTHE ACQUISITION LLC DBA                                                       Account # 438-4910935
THE WILLIAMSBURG HOTEL
DIP CASE 21-22108-RRD SDNY


ACCOUNT SUMMARY
Beginning Balance               1,321,453.48                 Average Collected Balance      1,242,683.44
Electronic Deposits             1,349,654.81                 Interest Earned This Period            0.00
Other Credits                      50,788.87                 Interest Paid Year-to-Date             0.00
                                                             Annual Percentage Yield Earned       0.00%
Electronic Payments             1,470,442.38                 Days in Period                           28
Ending Balance                  1,251,454.78




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                       AMOUNT
02/01            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               15,649.73
02/01            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               15,134.33
02/02            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               46,690.70
02/02            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               12,468.26
02/03            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               30,092.96
02/03            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                4,612.60
02/04            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               25,521.68
02/04            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                7,190.44
02/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               39,258.36
02/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               34,801.62
02/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               28,866.73
02/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               13,120.73
02/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                5,251.97
02/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                3,838.15
02/08            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               41,714.00
02/08            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               35,692.33
02/09            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               59,981.33
02/09            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               12,570.10
02/10            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               27,463.89
02/10            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                2,350.23
02/11            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               17,017.09
02/11            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                4,884.54
02/14            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              105,449.19
02/14            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               55,621.99
02/14            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               27,240.11


Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    How to Balance your Account                                                                                                               Page:                                   2 of 5

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                     1,251,454.78
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                     STATEMENT OF ACCOUNT


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   THE WILLIAMSBURG HOTEL                            Page:                                  3 of 5
   DIP CASE 21-22108-RRD SDNY                        Statement Period:    Feb 01 2022-Feb 28 2022
                                                     Cust Ref #:             4384910935-039-E-***
                                                     Primary Account #:              438-4910935




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE    DESCRIPTION                                                                      AMOUNT
02/14           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              25,372.17
02/14           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               6,682.40
02/14           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               6,035.73
02/15           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              43,231.60
02/15           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              38,118.44
02/15           CCD DEPOSIT, CONEY ISLAND PRE ACH PMT ****582211                                5,021.60
02/16           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              45,586.59
02/16           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              16,550.92
02/17           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              30,071.60
02/17           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              12,479.98
02/18           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              31,766.84
02/18           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               5,594.17
02/22           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              57,331.02
02/22           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              36,613.94
02/22           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              30,819.42
02/22           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              29,915.75
02/22           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              25,387.38
02/22           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              19,686.06
02/22           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               6,042.97
02/22           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               4,293.46
02/23           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              33,175.03
02/23           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              18,048.16
02/24           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              42,632.81
02/24           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               4,267.00
02/25           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              38,304.18
02/25           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               5,165.51
02/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              25,726.15
02/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              17,758.07
02/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               8,035.64
02/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               7,457.16
                                                                          Subtotal:         1,349,654.81
Other Credits
POSTING DATE    DESCRIPTION                                                                      AMOUNT
02/10           WIRE TRANSFER INCOMING, 1/MICROBLINK D.O.O.                                    23,291.00
02/23           WIRE TRANSFER INCOMING, PINK SKY TRAVEL FZE                                     1,199.04
02/24           WIRE TRANSFER INCOMING, FINSBURY GLOVER HERING US LLC                          26,298.83
                                                                          Subtotal:            50,788.87



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   THE WILLIAMSBURG HOTEL                             Page:                                  4 of 5
   DIP CASE 21-22108-RRD SDNY                         Statement Period:    Feb 01 2022-Feb 28 2022
                                                      Cust Ref #:             4384910935-039-E-***
                                                      Primary Account #:              438-4910935




DAILY ACCOUNT ACTIVITY
Electronic Payments
POSTING DATE    DESCRIPTION                                                                       AMOUNT
02/01           eTransfer Debit, Online Xfer                                                    42,762.58
                 Transfer to CK 4380021596
02/02           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                 572.47
02/03           eTransfer Debit, Online Xfer                                                   183,007.42
                 Transfer to CK 4380021603
02/03           eTransfer Debit, Online Xfer                                                    55,314.25
                 Transfer to CK 4380021596
02/03           CCD DEBIT, FISERV MERCHANT INTERCHNG ****01938889                               25,335.09
02/03           CCD DEBIT, FISERV MERCHANT INTERCHNG ****03671884                                6,124.07
02/03           CCD DEBIT, FISERV MERCHANT DISCOUNT ****01938889                                 1,873.78
02/03           CCD DEBIT, FISERV MERCHANT FEE ****01938889                                      1,780.05
02/03           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                        816.48
02/03           CCD DEBIT, FISERV MERCHANT DISCOUNT ****03671884                                   508.60
02/03           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                  36.00
02/04           eTransfer Debit, Online Xfer                                                    15,469.35
                 Transfer to CK 4380021596
02/04           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                 952.60
02/07           eTransfer Debit, Online Xfer                                                    42,864.57
                 Transfer to CK 4380021596
02/07           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                               1,951.02
02/08           eTransfer Debit, Online Xfer                                                    60,355.26
                 Transfer to CK 4380021596
02/09           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                 251.69
02/10           eTransfer Debit, Online Xfer                                                   186,651.73
                 Transfer to CK 4380021603
02/10           CCD DEBIT, NYC DEPT OF FIN NYCDOF PTX C      ****15746                          31,067.15
02/10           eTransfer Debit, Online Xfer                                                    16,863.02
                 Transfer to CK 4380021596
02/10           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                          0.65
02/11           eTransfer Debit, Online Xfer                                                    54,023.64
                 Transfer to CK 4380021596
02/14           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                  88.07
02/14           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                  58.62
02/15           eTransfer Debit, Online Xfer                                                    51,076.00
                 Transfer to CK 4380021596
02/15           eTransfer Debit, Online Xfer                                                    17,334.01
                 Transfer to CK 4380021596
02/15           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                          0.04
02/16           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                 351.70
02/17           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                          0.56
02/18           eTransfer Debit, Online Xfer                                                   189,499.63
                 Transfer to CK 4380021603


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   THE WILLIAMSBURG HOTEL                             Page:                                  5 of 5
   DIP CASE 21-22108-RRD SDNY                         Statement Period:    Feb 01 2022-Feb 28 2022
                                                      Cust Ref #:             4384910935-039-E-***
                                                      Primary Account #:              438-4910935




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                       AMOUNT
02/18           eTransfer Debit, Online Xfer                                                    16,897.62
                 Transfer to CK 4380021596
02/18           CCD DEBIT, QUARTERLY FEE PAYMENT 0000                                            2,349.00
02/18           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                 155.00
02/18           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                          1.70
02/22           eTransfer Debit, Online Xfer                                                   114,742.65
                 Transfer to CK 4380021611
02/22           eTransfer Debit, Online Xfer                                                    39,882.47
                 Transfer to CK 4380021596
02/22           eTransfer Debit, Online Xfer                                                    39,720.05
                 Transfer to CK 4380021596
02/22           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                  40.00
02/22           CCD DEBIT, FISERV MERCHANT FEE ****01938889                                          2.55
02/23           eTransfer Debit, Online Xfer                                                    44,714.85
                 Transfer to CK 4380021596
02/23           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                 120.00
02/23           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                          0.14
02/24           eTransfer Debit, Online Xfer                                                   190,850.54
                 Transfer to CK 4380021603
02/24           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                          0.64
02/28           eTransfer Debit, Online Xfer                                                    33,975.07
                 Transfer to CK 4380021596

                                                                           Subtotal:         1,470,442.38


DAILY BALANCE SUMMARY
DATE                               BALANCE                  DATE                                 BALANCE
01/31                         1,321,453.48                  02/14                            1,326,589.68
02/01                         1,309,474.96                  02/15                            1,344,551.27
02/02                         1,368,061.45                  02/16                            1,406,337.08
02/03                         1,127,971.27                  02/17                            1,448,888.10
02/04                         1,144,261.44                  02/18                            1,277,346.16
02/07                         1,224,583.41                  02/22                            1,293,048.44
02/08                         1,241,634.48                  02/23                            1,300,635.68
02/09                         1,313,934.22                  02/24                            1,182,983.14
02/10                         1,132,456.79                  02/25                            1,226,452.83
02/11                         1,100,334.78                  02/28                            1,251,454.78




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                                                E     STATEMENT OF ACCOUNT



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   THE WILLIAMSBURG HOTEL                             Statement Period:    Feb 01 2022-Feb 28 2022
   DIP CASE 21-22108 SDNY                             Cust Ref #:             4384910927-039-E-***
   3284 N 29TH CT                                     Primary Account #:              438-4910927
   HOLLYWOOD FL 33020




Chapter 11 Checking
96 WYTHE ACQUISITION LLC DBA                                                      Account # 438-4910927
THE WILLIAMSBURG HOTEL
DIP CASE 21-22108 SDNY


ACCOUNT SUMMARY
Beginning Balance              1,738,803.02                 Average Collected Balance      1,738,803.02
                                                            Interest Earned This Period            0.00
Ending Balance                 1,738,803.02                 Interest Paid Year-to-Date             0.00
                                                            Annual Percentage Yield Earned       0.00%
                                                            Days in Period                           28


DAILY ACCOUNT ACTIVITY
No Transactions this Statement Period




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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                     1,738,803.02
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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   96 WYTHE AVE                                          Statement Period:    Feb 01 2022-Feb 28 2022
   BROOKLYN NY 11249                                     Cust Ref #:             4380021596-719-E-***
                                                         Primary Account #:              438-0021596




TD Business Premier Checking
THE WILLIAMSBURG HOTEL BK LLC                                                        Account # 438-0021596


ACCOUNT SUMMARY
Beginning Balance                    57,738.03                 Average Collected Balance           57,457.93
Electronic Deposits                 531,252.74                 Interest Earned This Period              0.00
                                                               Interest Paid Year-to-Date               0.00
Checks Paid                         334,185.10                 Annual Percentage Yield Earned         0.00%
Electronic Payments                 190,481.82                 Days in Period                             28
Other Withdrawals                    18,724.90
Service Charges                          30.00
Ending Balance                       45,568.95



DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                         AMOUNT
02/01            eTransfer Credit, Online Xfer                                                     42,762.58
                      Transfer from CK 4384910935
02/03            eTransfer Credit, Online Xfer                                                     55,314.25
                      Transfer from CK 4384910935
02/04            eTransfer Credit, Online Xfer                                                     15,469.35
                      Transfer from CK 4384910935
02/07            eTransfer Credit, Online Xfer                                                     42,864.57
                      Transfer from CK 4384910935
02/08            eTransfer Credit, Online Xfer                                                     60,355.26
                      Transfer from CK 4384910935
02/10            eTransfer Credit, Online Xfer                                                     16,863.02
                      Transfer from CK 4384910935
02/11            eTransfer Credit, Online Xfer                                                     54,023.64
                      Transfer from CK 4384910935
02/15            eTransfer Credit, Online Xfer                                                     51,076.00
                      Transfer from CK 4384910935
02/15            eTransfer Credit, Online Xfer                                                     17,334.01
                      Transfer from CK 4384910935
02/18            eTransfer Credit, Online Xfer                                                     16,897.62
                      Transfer from CK 4384910935
02/22            eTransfer Credit, Online Xfer                                                     39,882.47
                      Transfer from CK 4384910935




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    How to Balance your Account                                                                                                               Page:                                2 of 32

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         45,568.95
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                                            STATEMENT OF ACCOUNT


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                                                                            Cust Ref #:                       4380021596-719-E-***
                                                                            Primary Account #:                        438-0021596




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE    DESCRIPTION                                                                                                                    AMOUNT
02/22           eTransfer Credit, Online Xfer                                                                                            39,720.05
                    Transfer from CK 4384910935
02/23           eTransfer Credit, Online Xfer                                                                                            44,714.85
                    Transfer from CK 4384910935
02/28           eTransfer Credit, Online Xfer                                                                                            33,975.07
                    Transfer from CK 4384910935

                                                                                                            Subtotal:                  531,252.74
Checks Paid     No. Checks: 221   *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE           SERIAL NO.                  AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
02/11           3                       1,380.57                                   02/03                     3093*                             644.03
02/18           38*                     5,181.63                                   02/01                     3097*                         1,300.00
02/10           2648*                  10,475.00                                   02/03                     3098                          3,400.00
02/03           2839*                   2,960.60                                   02/22                     3099                              400.00
02/14           2868*                      450.00                                  02/01                     3101*                         1,800.00
02/08           2878*                      875.00                                  02/07                     3102                          1,252.06
02/02           2934*                   1,079.50                                   02/02                     3105*                             890.00
02/02           2957*                   1,158.75                                   02/07                     3107*                         1,315.43
02/22           2989*                   2,000.00                                   02/02                     3109*                         2,237.48
02/01           3017*                   1,665.79                                   02/01                     3110                              258.04
02/02           3038*                      890.00                                  02/02                     3111                              156.00
02/14           3039                       300.00                                  02/04                     3113*                         1,130.00
02/09           3041*                      545.48                                  02/02                     3116*                             666.00
02/03           3051*                   2,918.18                                   02/07                     3117                              888.50
02/02           3061*                   3,080.00                                   02/03                     3118                              623.37
02/01           3067*                   1,300.00                                   02/17                     3119                              372.73
02/22           3070*                      400.00                                  02/07                     3120                              500.64
02/22           3071                    1,897.75                                   02/01                     3121                          1,644.24
02/22           3077*                   2,657.00                                   02/04                     3122                          3,084.26
02/02           3081*                      650.00                                  02/01                     3126*                             500.00
02/07           3082                       888.50                                  02/03                     3128*                             633.00
02/17           3083                       545.08                                  02/07                     3130*                         1,954.00
02/02           3087*                   1,281.17                                   02/01                     3132*                         2,361.69
02/02           3088                    1,200.00                                   02/01                     3133                          4,371.33
02/02           3089                       111.05                                  02/08                     3134                          2,253.72
02/08           3090                    3,116.86                                   02/01                     3135                          2,408.95


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                                                                      Primary Account #:                        438-0021596




DAILY ACCOUNT ACTIVITY
Checks Paid (continued)     *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE          SERIAL NO.             AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
02/01           3138*                520.00                                  02/14                     3185                              520.00
02/03           3139                 600.00                                  02/08                     3186                              400.00
02/01           3141*                550.00                                  02/07                     3187                              800.00
02/10           3142                 550.00                                  02/07                     3188                              450.00
02/22           3145*                400.00                                  02/22                     3189                              400.00
02/01           3148*             1,252.80                                   02/25                     3190                          1,178.55
02/03           3152*             1,112.77                                   02/08                     3192*                             332.00
02/02           3153                   36.40                                 02/07                     3193                          3,024.24
02/03           3154                 230.00                                  02/07                     3195*                         2,602.11
02/01           3155              2,123.18                                   02/11                     3197*                         1,414.88
02/08           3157*             1,584.13                                   02/08                     3198                              545.00
02/01           3158              1,247.36                                   02/11                     3199                          1,593.00
02/17           3161*                121.55                                  02/08                     3200                          1,551.86
02/02           3162              2,673.40                                   02/04                     3201                          4,336.20
02/07           3163                 888.50                                  02/08                     3202                               92.54
02/02           3164                 230.00                                  02/08                     3204*                         1,156.25
02/16           3165                 955.92                                  02/09                     3205                          2,573.50
02/01           3166                 790.78                                  02/28                     3206                              750.00
02/07           3168*                731.33                                  02/09                     3207                          2,000.00
02/04           3169              1,360.94                                   02/07                     3208                          2,000.00
02/01           3170                 871.00                                  02/07                     3209                              812.25
02/09           3171             21,947.20                                   02/08                     3210                              759.40
02/14           3172              7,001.00                                   02/09                     3211                          2,250.99
02/04           3173              3,900.80                                   02/11                     3212                               44.38
02/07           3174              1,987.50                                   02/08                     3213                              887.33
02/28           3175              1,954.00                                   02/14                     3214                          2,574.90
02/07           3176                 994.52                                  02/07                     3215                          2,163.30
02/09           3177              2,500.00                                   02/08                     3216                              706.37
02/04           3178              4,000.00                                   02/08                     3217                          7,429.21
02/09           3179                 420.00                                  02/14                     3218                              596.80
02/22           3180                 834.26                                  02/10                     3219                              350.00
02/08           3181              3,000.00                                   02/08                     3220                              500.00
02/10           3182                 350.00                                  02/10                     3221                          5,441.62
02/09           3184*                400.00                                  02/17                     3222                          1,320.00


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DAILY ACCOUNT ACTIVITY
Checks Paid (continued)     *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE          SERIAL NO.             AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
02/14           3223                 900.00                                  02/16                     3269                              552.00
02/14           3224                 596.80                                  02/16                     3270                          1,137.38
02/22           3225              5,000.00                                   02/14                     3271                          3,041.23
02/14           3226              2,290.45                                   02/15                     3272                          1,749.01
02/11           3227                 210.63                                  02/18                     3273                          1,816.04
02/28           3228                 450.00                                  02/24                     3274                              620.00
02/14           3229                 520.00                                  02/15                     3275                          2,315.87
02/14           3231*                800.00                                  02/15                     3276                          1,256.28
02/22           3232                 200.00                                  02/14                     3277                          1,000.00
02/14           3233              3,666.30                                   02/24                     3278                              707.69
02/22           3234                 350.00                                  02/18                     3279                              770.00
02/14           3238*                500.00                                  02/22                     3280                              600.00
02/14           3239                 146.57                                  02/24                     3281                              700.00
02/18           3243*                898.05                                  02/24                     3282                              512.00
02/14           3244                 881.89                                  02/22                     3283                          1,095.55
02/18           3245              1,360.94                                   02/24                     3286*                             382.00
02/15           3247*             2,250.99                                   02/22                     3289*                         1,082.20
02/14           3248                 500.83                                  02/25                     3290                          1,850.00
02/15           3249              2,361.69                                   02/22                     3291                              520.00
02/14           3251*             2,000.00                                   02/23                     3293*                             500.00
02/16           3252              1,750.00                                   02/28                     3294                          1,000.00
02/28           3253                 175.00                                  02/22                     3295                              210.00
02/15           3254              7,720.50                                   02/18                     3296                              210.00
02/22           3256*             3,323.07                                   02/22                     3297                              210.00
02/15           3257              1,000.00                                   02/22                     3298                              210.00
02/17           3258                 300.00                                  02/28                     3299                              210.00
02/14           3259                 300.50                                  02/22                     3301*                             210.00
02/16           3260                 600.00                                  02/28                     3302                              210.00
02/25           3261                 902.60                                  02/22                     3303                              210.00
02/15           3263*                401.13                                  02/22                     3304                              210.00
02/22           3265*                145.68                                  02/22                     3305                              240.00
02/15           3266                 585.81                                  02/23                     3306                          1,751.62
02/17           3267                 456.03                                  02/24                     3307                              867.40
02/22           3268                 430.92                                  02/24                     3308                              160.80


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DAILY ACCOUNT ACTIVITY
Checks Paid (continued)       *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE           SERIAL NO.              AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
02/23           3309                     36.40                                 02/25                     3330                              771.73
02/24           3310                3,300.85                                   02/23                     3332*                             506.27
02/23           3312*               1,672.08                                   02/22                     3333                          2,000.00
02/23           3313                   696.80                                  02/23                     3335*                         7,989.37
02/23           3314                   274.73                                  02/24                     3336                              767.14
02/22           3316*               2,039.55                                   02/24                     3337                               55.00
02/28           3317                1,075.00                                   02/22                     3338                              871.00
02/24           3319*                  729.16                                  02/28                     3339                          2,177.50
02/28           3320                   256.51                                  02/28                     3340                          1,320.00
02/24           3321                1,375.00                                   02/28                     3342*                              90.00
02/25           3322                1,701.83                                   02/25                     3348*                         3,000.00
02/23           3324*                  487.72                                  02/25                     3349                          1,176.99
02/22           3325                1,551.75                                   02/28                     3351*                         3,458.14
02/23           3326                   383.88                                  02/28                     3352                          6,763.51
02/23           3327                2,845.00                                   02/28                     3358*                         1,224.71
02/22           3328                   585.00                                  02/25                     3361*                         1,310.00
02/22           3329                1,869.63
                                                                                                        Subtotal:                  334,185.10
Electronic Payments
POSTING DATE    DESCRIPTION                                                                                                                AMOUNT
02/01           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000724911                                                                     4,666.43
02/01           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                   3,654.87
02/01           ELECTRONIC PMT-WEB, NYSIF WEB_PAY 00704837011722                                                                       2,606.72
02/01           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                   1,028.32
02/01           ELECTRONIC PMT-WEB, VERIZON PAYMENTREC 2515388510001                                                                     191.56
02/02           CTX DEBIT, UNITED HEALTHCAR EDI PAYMTS 636325720325                                                                    9,517.89
02/02           CCD DEBIT, EMPIRE BLUE INDIVIDUAL 0106862                                                                              1,968.26
02/02           CCD DEBIT, ASCENTIUMCAPITAL LEASECHG 173752                                                                            1,249.32
02/02           CCD DEBIT, MERCHANT SERVICE MERCH FEE 8079292879                                                                         295.08
02/03           CCD DEBIT, BRONX LOBSTER PL ACH 201-707-4847                                                                           4,463.20
02/03           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                   2,895.77
02/04           ELECTRONIC PMT-WEB, SORBIS WEBPAYMENT                                                                                  5,877.82
02/04           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 5942107                                                                 1,500.00
02/04           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                   1,150.97
02/04           ACH DEBIT, CLEANSLATE PURCHASE                                                                                           655.74
02/07           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                   3,087.81


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DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                      AMOUNT
02/07           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000726096                              2,704.43
02/07           CCD DEBIT, HEALTHPLUS OR1544015 000001406036794                                   281.37
02/08           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            1,795.69
02/08           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            1,389.65
02/08           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                              990.66
02/08           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000726368                                261.48
02/09           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 1676342                          1,507.50
02/10           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            2,023.05
02/10           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000727170                                638.80
02/11           TD BILL PAY SERV, BANK OF AMERICA ONLINE PMT TDB212585026POS                   10,198.75
02/11           TD BILL PAY SERV, CHASE CARD SERV ONLINE PMT TDB212585026POS                    9,145.50
02/11           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 1305924                          4,900.00
02/11           CCD DEBIT, RIVIERA PROD 2 INVOICES WILL05                                       4,148.37
02/11           CCD DEBIT, RIVIERA PROD 2 INVOICES WILL05                                       3,401.02
02/11           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            2,605.74
02/11           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000727362                                412.53
02/11           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000727363                                412.53
02/14           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            3,672.42
02/14           ELECTRONIC PMT-WEB, SPECTRUM SPECTRUM 2684669                                   2,721.67
02/15           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000727776                             12,502.77
02/15           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            3,989.14
02/15           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            2,792.70
02/15           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            2,767.61
02/15           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000727774                                787.86
02/15           CCD DEBIT, SAXELBY CHEESEMO SALE                                                  249.38
02/16           CCD DEBIT, THE GUARDIAN FEB GP INS 79990900BE10000                              1,032.06
02/17           CCD DEBIT, BRONX LOBSTER PL ACH 201-707-4847                                    3,624.25
02/17           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            1,070.01
02/18           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            2,162.65
02/18           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000167342                                709.95
02/22           CCD DEBIT, BOOKING.COM B.V. 1028527530 10000700904558                          10,008.05
02/22           CCD DEBIT, EXPEDIA, INC. 10080588_8 127000605074                                4,150.53
02/22           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            2,345.34
02/22           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000729151                              1,175.52
02/22           CCD DEBIT, 833-830-9255 QUICKBOOKS 6770455                                        586.84
02/23           CCD DEBIT, WESTGUARD INS CO INS PREM WIWC291833                                12,549.31
02/23           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            6,690.95
02/23           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000729486                              1,985.11
02/23           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            1,867.60


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DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                      AMOUNT
02/23           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            1,792.30
02/23           CCD DEBIT, MICROS RETAIL SY ACH DEBIT 5319477208                                  994.99
02/23           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000167822                                830.30
02/23           CCD DEBIT, ALLIANCE ACHDEBITS 000102316653001                                     324.85
02/24           ELECTRONIC PMT-WEB, SORBIS WEBPAYMENT                                           3,747.83
02/24           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 0808790                          2,718.42
02/24           CCD DEBIT, BRONX LOBSTER PL ACH 201-707-4847                                    1,816.02
02/24           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                              897.60
02/24           CCD DEBIT, T. EDWARD WINES, ACH DEBIT 5323767219                                  480.00
02/25           ELECTRONIC PMT-WEB, FIDELIS CARE US 000000000                                     737.47
02/28           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            2,707.01
02/28           ELECTRONIC PMT-WEB, FIDELIS CARE US 000000000                                     840.68
02/28           ELECTRONIC PMT-WEB, TRIPADVISOR ADVERTSING 8755474                                788.33
02/28           ELECTRONIC PMT-WEB, FIDELIS CARE US 000000000                                     737.47
                                                                          Subtotal:           190,481.82
Other Withdrawals
POSTING DATE    DESCRIPTION                                                                      AMOUNT
02/04           WIRE TRANSFER OUTGOING, Mint Development Corp                                   2,458.50
02/04           WIRE TRANSFER FEE                                                                  30.00
02/07           STOP PAYMENT CHG(S), STOP ITEM                                                     30.00
02/08           STOP PAYMENT CHG(S), STOP ITEM                                                     30.00
02/11           WIRE TRANSFER OUTGOING, Mint Development Corp                                   2,436.00
02/11           WIRE TRANSFER FEE                                                                  30.00
02/16           WIRE TRANSFER OUTGOING, Onyx Centersource AS                                    3,074.90
02/16           WIRE TRANSFER FEE                                                                  30.00
02/18           WIRE TRANSFER OUTGOING, Mint Development Corp                                   2,370.00
02/18           WIRE TRANSFER FEE                                                                  30.00
02/22           STOP PAYMENT CHG(S), STOP ITEM                                                     30.00
02/23           WIRE TRANSFER OUTGOING, HA Clarke, LLC                                          4,182.50
02/23           WIRE TRANSFER OUTGOING, Janover LLC                                             1,563.00
02/23           WIRE TRANSFER FEE                                                                  30.00
02/23           WIRE TRANSFER FEE                                                                  30.00
02/25           WIRE TRANSFER OUTGOING, Mint Development Corp                                   2,340.00
02/25           WIRE TRANSFER FEE                                                                  30.00
                                                                          Subtotal:            18,724.90




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                                                       Primary Account #:              438-0021596




DAILY ACCOUNT ACTIVITY
Service Charges
POSTING DATE      DESCRIPTION                                                                      AMOUNT
02/28             MAINTENANCE FEE                                                                      30.00
                                                                            Subtotal:                  30.00


DAILY BALANCE SUMMARY
DATE                               BALANCE                   DATE                                 BALANCE
01/31                             57,738.03                  02/14                               38,639.15
02/01                             63,387.55                  02/15                               64,318.42
02/02                             34,017.25                  02/16                               55,186.16
02/03                             68,850.58                  02/17                               47,376.51
02/04                             54,834.70                  02/18                               48,764.87
02/07                             68,342.78                  02/22                               77,917.75
02/08                             99,040.89                  02/23                               72,647.82
02/09                             64,896.22                  02/24                               52,810.91
02/10                             61,930.77                  02/25                               37,811.74
02/11                             73,620.51                  02/28                               45,568.95




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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                                                          Cust Ref #:             4380021596-719-E-***
                                                          Primary Account #:              438-0021596




                                                 #38           02/18           $5,181.63
#3          02/11        $1,380.57




#2648       02/10        $10,475.00              #2839         02/03           $2,960.60




#2868       02/14        $450.00                 #2878         02/08           $875.00




#2934       02/02        $1,079.50               #2957         02/02           $1,158.75




#2989       02/22        $2,000.00               #3017         02/01           $1,665.79
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#3038       02/02        $890.00                 #3039         02/14           $300.00




#3041       02/09        $545.48                 #3051         02/03           $2,918.18




#3061       02/02        $3,080.00               #3067         02/01           $1,300.00




#3070       02/22        $400.00                 #3071         02/22           $1,897.75




#3077       02/22        $2,657.00               #3081         02/02           $650.00
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                                                          Primary Account #:              438-0021596




#3082       02/07        $888.50                 #3083         02/17           $545.08




#3087       02/02        $1,281.17               #3088         02/02           $1,200.00




#3089       02/02        $111.05                 #3090         02/08           $3,116.86




#3093       02/03        $644.03                 #3097         02/01           $1,300.00




#3098       02/03        $3,400.00               #3099         02/22           $400.00
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                                                          Primary Account #:              438-0021596




#3101       02/01        $1,800.00               #3102         02/07           $1,252.06




#3105       02/02        $890.00                 #3107         02/07           $1,315.43




#3109       02/02        $2,237.48               #3110         02/01           $258.04




#3111       02/02        $156.00                 #3113         02/04           $1,130.00




#3116       02/02        $666.00                 #3117         02/07           $888.50
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#3118       02/03        $623.37                 #3119         02/17           $372.73




#3120       02/07        $500.64                 #3121         02/01           $1,644.24




#3122       02/04        $3,084.26               #3126         02/01           $500.00




#3128       02/03        $633.00                 #3130         02/07           $1,954.00




#3132       02/01        $2,361.69               #3133         02/01           $4,371.33
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#3134       02/08        $2,253.72               #3135         02/01           $2,408.95




#3138       02/01        $520.00                 #3139         02/03           $600.00




#3141       02/01        $550.00                 #3142         02/10           $550.00




#3145       02/22        $400.00                 #3148         02/01           $1,252.80




#3152       02/03        $1,112.77               #3153         02/02           $36.40
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#3154       02/03        $230.00                 #3155         02/01           $2,123.18




#3157       02/08        $1,584.13               #3158         02/01           $1,247.36




#3161       02/17        $121.55                 #3162         02/02           $2,673.40




#3163       02/07        $888.50                 #3164         02/02           $230.00




#3165       02/16        $955.92                 #3166         02/01           $790.78
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#3168       02/07        $731.33                 #3169         02/04           $1,360.94




#3170       02/01        $871.00                 #3171         02/09           $21,947.20




                                                 #3173         02/04           $3,900.80
#3172       02/14        $7,001.00




#3174       02/07        $1,987.50               #3175         02/28           $1,954.00




#3176       02/07        $994.52                 #3177         02/09           $2,500.00
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                                                          Primary Account #:              438-0021596




#3178       02/04        $4,000.00               #3179         02/09           $420.00




#3180       02/22        $834.26                 #3181         02/08           $3,000.00




#3182       02/10        $350.00                 #3184         02/09           $400.00




#3185       02/14        $520.00                 #3186         02/08           $400.00




#3187       02/07        $800.00                 #3188         02/07           $450.00
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#3189       02/22        $400.00                 #3190         02/25           $1,178.55




#3192       02/08        $332.00                 #3193         02/07           $3,024.24




#3195       02/07        $2,602.11               #3197         02/11           $1,414.88




#3198       02/08        $545.00                 #3199         02/11           $1,593.00




#3200       02/08        $1,551.86               #3201         02/04           $4,336.20
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#3202       02/08        $92.54                  #3204         02/08           $1,156.25




#3205       02/09        $2,573.50               #3206         02/28           $750.00




#3207       02/09        $2,000.00               #3208         02/07           $2,000.00




#3209       02/07        $812.25                 #3210         02/08           $759.40




#3211       02/09        $2,250.99               #3212         02/11           $44.38
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                                                          Primary Account #:              438-0021596




#3213       02/08        $887.33                 #3214         02/14           $2,574.90




#3215       02/07        $2,163.30               #3216         02/08           $706.37




#3217       02/08        $7,429.21               #3218         02/14           $596.80




#3219       02/10        $350.00                 #3220         02/08           $500.00




#3221       02/10        $5,441.62               #3222         02/17           $1,320.00
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#3223       02/14        $900.00                 #3224         02/14           $596.80




#3225       02/22        $5,000.00               #3226         02/14           $2,290.45




#3227       02/11        $210.63                 #3228         02/28           $450.00




#3229       02/14        $520.00                 #3231         02/14           $800.00




#3232       02/22        $200.00                 #3233         02/14           $3,666.30
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                                                          Primary Account #:              438-0021596




#3234       02/22        $350.00                 #3238         02/14           $500.00




#3239       02/14        $146.57                 #3243         02/18           $898.05




#3244       02/14        $881.89                 #3245         02/18           $1,360.94




#3247       02/15        $2,250.99               #3248         02/14           $500.83




#3249       02/15        $2,361.69               #3251         02/14           $2,000.00
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                                                          Primary Account #:              438-0021596




#3252       02/16        $1,750.00               #3253         02/28           $175.00




#3254       02/15        $7,720.50               #3256         02/22           $3,323.07




#3257       02/15        $1,000.00               #3258         02/17           $300.00




#3259       02/14        $300.50                 #3260         02/16           $600.00




#3261       02/25        $902.60                 #3263         02/15           $401.13
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#3265       02/22        $145.68                 #3266         02/15           $585.81




#3267       02/17        $456.03                 #3268         02/22           $430.92




#3269       02/16        $552.00                 #3270         02/16           $1,137.38




#3271       02/14        $3,041.23               #3272         02/15           $1,749.01




#3273       02/18        $1,816.04               #3274         02/24           $620.00
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#3275       02/15        $2,315.87               #3276         02/15           $1,256.28




#3277       02/14        $1,000.00               #3278         02/24           $707.69




#3279       02/18        $770.00                 #3280         02/22           $600.00




#3281       02/24        $700.00                 #3282         02/24           $512.00




#3283       02/22        $1,095.55               #3286         02/24           $382.00
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#3289       02/22        $1,082.20               #3290         02/25           $1,850.00




#3291       02/22        $520.00                 #3293         02/23           $500.00




#3294       02/28        $1,000.00               #3295         02/22           $210.00




#3296       02/18        $210.00                 #3297         02/22           $210.00




#3298       02/22        $210.00                 #3299         02/28           $210.00
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#3301       02/22        $210.00                 #3302         02/28           $210.00




#3303       02/22        $210.00                 #3304         02/22           $210.00




#3305       02/22        $240.00                 #3306         02/23           $1,751.62




#3307       02/24        $867.40                 #3308         02/24           $160.80




#3309       02/23        $36.40                  #3310         02/24           $3,300.85
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#3312       02/23        $1,672.08               #3313         02/23           $696.80




#3314       02/23        $274.73                 #3316         02/22           $2,039.55




#3317       02/28        $1,075.00               #3319         02/24           $729.16




#3320       02/28        $256.51                 #3321         02/24           $1,375.00




#3322       02/25        $1,701.83               #3324         02/23           $487.72
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                                                          Primary Account #:              438-0021596




#3325       02/22        $1,551.75               #3326         02/23           $383.88




#3327       02/23        $2,845.00               #3328         02/22           $585.00




#3329       02/22        $1,869.63               #3330         02/25           $771.73




#3332       02/23        $506.27                 #3333         02/22           $2,000.00




#3335       02/23        $7,989.37               #3336         02/24           $767.14
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#3337       02/24        $55.00                 #3338         02/22           $871.00




#3339       02/28        $2,177.50              #3340         02/28           $1,320.00




#3342       02/28        $90.00                 #3348         02/25           $3,000.00




#3349       02/25        $1,176.99              #3351         02/28           $3,458.14




#3352       02/28        $6,763.51              #3358         02/28           $1,224.71
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#3361       02/25        $1,310.00
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   PAYROLL ACCOUNT                                       Statement Period:    Feb 01 2022-Feb 28 2022
   96 WYTHE AVE                                          Cust Ref #:             4380021603-719-E-***
   BROOKLYN NY 11249                                     Primary Account #:              438-0021603




TD Business Premier Checking
THE WILLIAMSBURG HOTEL BK LLC                                                        Account # 438-0021603
PAYROLL ACCOUNT


ACCOUNT SUMMARY
Beginning Balance                     6,710.33                 Average Collected Balance           26,680.30
Electronic Deposits                 750,009.32                 Interest Earned This Period              0.00
                                                               Interest Paid Year-to-Date               0.00
Electronic Payments                 751,647.45                 Annual Percentage Yield Earned         0.00%
Service Charges                          30.00                 Days in Period                             28
Ending Balance                        5,042.20




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                         AMOUNT
02/03            eTransfer Credit, Online Xfer                                                    183,007.42
                      Transfer from CK 4384910935
02/10            eTransfer Credit, Online Xfer                                                    186,651.73
                      Transfer from CK 4384910935
02/18            eTransfer Credit, Online Xfer                                                    189,499.63
                      Transfer from CK 4384910935
02/24            eTransfer Credit, Online Xfer                                                    190,850.54
                      Transfer from CK 4384910935

                                                                              Subtotal:           750,009.32
Electronic Payments
POSTING DATE     DESCRIPTION                                                                         AMOUNT
02/04            CCD DEBIT, PAYCHEX - RCX PAYROLL 95964900001631X                                 128,140.27
02/04            CCD DEBIT, PAYCHEX TPS TAXES 95959600004475X                                      53,674.40
02/04            CCD DEBIT, PAYCHEX CGS GARNISH COL0102220471                                         192.75
02/07            CCD DEBIT, PAYCHEX EIB INVOICE X95966900001915                                       930.02
02/11            CCD DEBIT, PAYCHEX - RCX PAYROLL 96051200000659X                                 130,623.83
02/11            CCD DEBIT, PAYCHEX TPS TAXES 96050900001596X                                      54,835.15
02/11            CCD DEBIT, PAYCHEX-HRS HRS PMT 39353071                                              395.33
02/11            CCD DEBIT, PAYCHEX CGS GARNISH COL0102330093                                         192.75
02/14            CCD DEBIT, PAYCHEX EIB INVOICE X96055200022507                                       841.81
02/18            CCD DEBIT, PAYCHEX-RCX PAYROLL 96144100001409X                                   134,205.14
02/18            CCD DEBIT, PAYCHEX TPS TAXES 96143000004628X                                      54,101.74
02/18            CCD DEBIT, PAYCHEX CGS GARNISH COL0102446163                                         192.75
02/22            CCD DEBIT, PAYCHEX-OAB INVOICE 96156600027016X                                     1,615.71
02/22            CCD DEBIT, PAYCHEX EIB INVOICE X96150600000897                                       996.94
02/25            CCD DEBIT, PAYCHEX PAYROLL 96235100000431X                                       134,722.17


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    How to Balance your Account                                                                                                               Page:                                   2 of 3

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                           5,042.20
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                       STATEMENT OF ACCOUNT


   THE WILLIAMSBURG HOTEL BK LLC
   PAYROLL ACCOUNT                                     Page:                                  3 of 3
                                                       Statement Period:    Feb 01 2022-Feb 28 2022
                                                       Cust Ref #:             4380021603-719-E-***
                                                       Primary Account #:              438-0021603




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE      DESCRIPTION                                                                      AMOUNT
02/25             CCD DEBIT, PAYCHEX TPS TAXES 96228400003765X                                   54,935.62
02/25             CCD DEBIT, PAYCHEX CGS GARNISH COL0102553759                                      192.75
02/28             CCD DEBIT, PAYCHEX EIB INVOICE X96234400013487                                    858.32
                                                                            Subtotal:           751,647.45
Service Charges
POSTING DATE      DESCRIPTION                                                                      AMOUNT
02/28             MAINTENANCE FEE                                                                      30.00
                                                                            Subtotal:                  30.00


DAILY BALANCE SUMMARY
DATE                               BALANCE                   DATE                                 BALANCE
01/31                              6,710.33                  02/14                               6,543.17
02/03                            189,717.75                  02/18                               7,543.17
02/04                              7,710.33                  02/22                               4,930.52
02/07                              6,780.31                  02/24                             195,781.06
02/10                            193,432.04                  02/25                               5,930.52
02/11                              7,384.98                  02/28                               5,042.20




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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                                                                  E          STATEMENT OF ACCOUNT



   THE WILLIAMSBURG HOTEL BK LLC                                             Page:                                            1 of 3
   96 WYTHE AVE                                                              Statement Period:              Feb 01 2022-Feb 28 2022
   BROOKLYN NY 11249                                                         Cust Ref #:                       4380021611-717-E-***
                                                                             Primary Account #:                        438-0021611




TD Business Convenience Plus
THE WILLIAMSBURG HOTEL BK LLC                                                                                         Account # 438-0021611


ACCOUNT SUMMARY
Beginning Balance                   509,296.31                                        Average Collected Balance                         322,745.68
Electronic Deposits                 114,742.65                                        Interest Earned This Period                             0.00
                                                                                      Interest Paid Year-to-Date                              0.00
Checks Paid                         428,586.42                                        Annual Percentage Yield Earned                        0.00%
Electronic Payments                  75,832.08                                        Days in Period                                            28
Ending Balance                      119,620.46




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                                                                    AMOUNT
02/22            eTransfer Credit, Online Xfer                                                                                          114,742.65
                      Transfer from CK 4384910935

                                                                                                             Subtotal:                  114,742.65
Checks Paid      No. Checks: 3     *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE            SERIAL NO.                  AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
02/16            1002                   88,262.72                                   02/16                     1004                      190,059.01
02/16            1003                 150,264.69
                                                                                                             Subtotal:                  428,586.42
Electronic Payments
POSTING DATE     DESCRIPTION                                                                                                                    AMOUNT
02/23            CCD DEBIT, NYS DTF SALES TAX PAYMNT 000000079425048                                                                      75,832.08
                                                                                                             Subtotal:                    75,832.08


DAILY BALANCE SUMMARY
DATE                                   BALANCE                                        DATE                                                 BALANCE
01/31                               509,296.31                                        02/22                                             195,452.54
02/16                                80,709.89                                        02/23                                             119,620.46




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xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    How to Balance your Account                                                                                                               Page:                                   2 of 3

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       119,620.46
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
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•   Follow instructions 2-5 to verify your                               balance should equal your account
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                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


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                                                        STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
                                                        Page:                                  3 of 3
                                                        Statement Period:    Feb 01 2022-Feb 28 2022
                                                        Cust Ref #:             4380021611-717-E-***
                                                        Primary Account #:              438-0021611




#1002       02/16        $88,262.72            #1003         02/16           $150,264.69




#1004       02/16        $190,059.01
